                 Exhibit C




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                     GENERAL ASSEMBLY OF NORTH CAROLINA
                                 SESSION 2023

                                    SESSION LAW 2023-14
                                      SENATE BILL 20


AN ACT TO MAKE VARIOUS CHANGES TO HEALTH CARE LAWS AND TO
APPROPRIATE FUNDS FOR HEALTH CARE PROGRAMS.

The General Assembly of North Carolina enacts:

PART I. ABORTION LAW REVISIONS
           SECTION 1.1. G.S. 14-45.1 is repealed.
           SECTION 1.2. Article 1I of Chapter 90 of the General Statutes reads as rewritten:
                                           "Article 1I.
                         "Woman's Right to Know Act.Abortion Laws.
"§ 90-21.80. Short title.
    This act may be cited as the "Woman's Right to Know Act.""Abortion Laws."
"§ 90-21.81. Definitions.
    The following definitions apply in this Article:
           (1)    Abortion. – A surgical abortion or a medical abortion, as those terms are
                  defined in this section, respectively.
           (1a) Abortion-inducing drug. – A medicine, drug, or any other substance
                  prescribed or dispensed with the intent of terminating the clinically
                  diagnosable pregnancy of a woman, with knowledge that the termination will,
                  with reasonable likelihood, cause the death of the unborn child. This includes
                  the off-label use of drugs such as mifepristone (Mifeprex), misoprostol
                  (Cytotec), and methotrexate, approved by the United States Food and Drug
                  Administration to induce abortions or known to have abortion-inducing
                  properties, prescribed specifically with the intent of causing an abortion,
                  whether or not there exists a diagnosed pregnancy at the time of prescription
                  or dispensing, for the purposes of the woman taking the drugs at a later date
                  to cause an abortion rather than contemporaneously with a clinically
                  diagnosed pregnancy. This definition shall not include drugs that may be
                  known to cause an abortion but are prescribed for other medical indications,
                  such as chemotherapeutic agents and diagnostic drugs.
           (1b) Adverse event. – Any untoward medical occurrence associated with the use
                  of a drug in humans, whether or not considered drug related.
           (1c) Abortion. –Surgical abortion. – The use or prescription of any instrument,
                  medicine, drug, or other substance instrument or device intentionally to
                  terminate the pregnancy of a woman known to be pregnant with an intention
                  other than to do any of the following:
                  a.      Increase the probability of a live birth.
                  b.      Preserve the life or health of the child.
                  c.      Remove a dead, unborn child who died as the result of (i) natural
                          causes in utero, (ii) accidental trauma, or (iii) a criminal assault on the
                          pregnant woman or her unborn child which causes the premature
                          termination of the pregnancy.


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                d.      Remove an ectopic pregnancy.
         (2)    Attempt to perform an abortion. – An act, or an omission of a statutorily
                required act, that, under the circumstances as the actor physician believes them
                to be, constitutes a substantial step in a course of conduct planned to culminate
                in the performance of an abortion in violation of this Article or Article 1K of
                this Chapter.
         (2a)   Complication. – Any physical or psychological conditions which, in the
                reasonable medical judgment of a licensed health care professional, arise as a
                primary or secondary result of an induced abortion, including:
                a.      Uterine perforation.
                b.      Cervical laceration.
                c.      Infection.
                d.      Bleeding or vaginal bleeding that qualifies as a Grade 2 or higher
                        adverse event according to the Common Terminology Criteria for
                        Adverse Events.
                e.      Pulmonary embolism.
                f.      Deep vein thrombosis.
                g.      Failure to actually terminate the pregnancy.
                h.      Incomplete abortion due to retained tissue.
                i.      Pelvic inflammatory disease.
                j.      Endometritis.
                k.      Missed ectopic pregnancy.
                l.      Cardiac arrest.
                m.      Respiratory arrest.
                n.      Renal failure.
                o.      Shock.
                p.      Amniotic fluid embolism.
                q.      Coma.
                r.      Free fluid in abdomen.
                s.      Allergic reactions to anesthesia and abortion-inducing drugs.
                t.      Psychological complications as described by the most recent edition
                        of the Diagnostic and Statistical Manual of Mental Disorders (DSM).
         (3)    Department. – The Department of Health and Human Services.
         (4)    Display a real-time view of the unborn child. – An ultrasound or any more
                scientifically advanced means of viewing the unborn child in real time.
         (4a)   Health care provider. – As defined in G.S. 90-410.
         (4b)   Hospital. – As defined in G.S. 131E-76.
         (4c)   Incest. – The criminally injurious conduct in the nature of the conduct
                described in G.S. 14-178.
         (4d)   Life-limiting anomaly. – The diagnosis by a qualified physician of a physical
                or genetic condition that (i) is defined as a life-limiting disorder by current
                medical evidence and (ii) is uniformly diagnosable.
         (4e)   Medical abortion. – The use of any medicine, drug, or other substance
                intentionally to terminate the pregnancy of a woman known to be pregnant
                with an intention other than to do any of the following:
                a.      Increase the probability of a live birth.
                b.      Preserve the life or health of the child.
                c.      Remove a dead, unborn child who died as a result of (i) natural causes
                        in utero, (ii) accidental trauma, or (iii) a criminal assault of the
                        pregnant woman or her unborn child which causes the premature
                        termination of the pregnancy.

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                    d.      Remove an ectopic pregnancy.
           (5)      Medical emergency. – A condition which, in reasonable medical judgment, so
                    complicates the medical condition of the pregnant woman as to necessitate the
                    immediate abortion of her pregnancy to avert her death or for which a delay
                    will create serious risk of substantial and irreversible physical impairment of
                    a major bodily function, not including any psychological or emotional
                    conditions. For purposes of this definition, no condition shall be deemed a
                    medical emergency if based on a claim or diagnosis that the woman will
                    engage in conduct which would result in her death or in substantial and
                    irreversible physical impairment of a major bodily function.
            (5a) Partial-birth abortion. – As defined in 18 U.S.C. § 1531(b)(1) as it exists on
                    January 1, 2023.
            (6)     Physician. – An individual licensed to practice medicine in accordance with
                    this Chapter.
            (7)     Probable gestational age. – What, in the judgment of the physician, will, with
                    reasonable probability, be the gestational age of the unborn child at the time
                    the abortion is planned to be performed.
            (7a) Qualified physician. – Any of the following: (i) a physician who possesses, or
                    is eligible to possess, board certification in obstetrics or gynecology, (ii) a
                    physician who possesses sufficient training based on established medical
                    standards in safe abortion care, abortion complications, and miscarriage
                    management, or (iii) a physician who performs an abortion in a medical
                    emergency as defined by this Article.
            (8)     Qualified professional. – An individual who is a registered nurse, nurse
                    practitioner, or physician assistant licensed in accordance with Article 1 of
                    this Chapter, or a qualified technician acting within the scope of the qualified
                    technician's authority as provided by North Carolina law and under the
                    supervision of a physician.
            (9)     Qualified technician. – A registered diagnostic medical sonographer who is
                    certified in obstetrics and gynecology by the American Registry for
                    Diagnostic Medical Sonography (ARDMS) or a nurse midwife or advanced
                    practice nurse practitioner in obstetrics with certification in obstetrical
                    ultrasonography.
            (9a) Rape. – The criminally injurious conduct in the nature of the conduct
                    described in G.S. 14-27.21, 14-27.22, 14-27.23, 14-27.24, and 14-27.25.
            (10) Stable Internet Web site. – Website. – A Web site website that, to the extent
                    reasonably practicable, is safeguarded from having its content altered other
                    than by the Department.
            (10a) Unborn child. – As defined in G.S. 14-23.1.
            (11) Woman. – A female human, whether or not she is an adult.
"§ 90-21.81A. Abortion.
    (a)     Abortion. – It shall be unlawful after the twelfth week of a woman's pregnancy to
advise, procure, or cause a miscarriage or abortion.
    (b)     Partial-Birth Abortion Prohibited. – It shall be unlawful for a qualified physician, any
health care provider, or any person to perform a partial-birth abortion at any time.
"§ 90-21.81B. When abortion is lawful.
    Notwithstanding any of the provisions of G.S. 14-44 and G.S. 14-45, and subject to the
provisions of this Article, it shall not be unlawful to advise, procure, or cause a miscarriage or an
abortion in the following circumstances:
            (1)     When a qualified physician determines there exists a medical emergency.


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            (2)      During the first 12 weeks of a woman's pregnancy, when the procedure is
                     performed by a qualified physician licensed to practice medicine in this State
                     in a hospital, ambulatory surgical center, or clinic certified by the Department
                     of Health and Human Services to be a suitable facility for the performance of
                     abortions, in accordance with G.S. 90-21.82A or during the first 12 weeks of
                     a woman's pregnancy when a medical abortion is procured.
             (3)     After the twelfth week and through the twentieth week of a woman's
                     pregnancy, when the procedure is performed by a qualified physician in a
                     suitable facility in accordance with G.S. 90-21.82A when the woman's
                     pregnancy is a result of rape or incest.
             (4)     During the first 24 weeks of a woman's pregnancy, if a qualified physician
                     determines there exists a life-limiting anomaly in accordance with this Article.
"§ 90-21.81C. Abortion reporting, objection, and inspection requirements.
     (a)     Procedure Information. – A qualified physician who advises, procures, or causes a
miscarriage or abortion after the twelfth week of a woman's pregnancy shall record all of the
following: (i) the method used by the qualified physician to determine the probable gestational
age of the unborn child at the time the procedure is to be performed, (ii) the results of the
methodology, including the measurements of the unborn child, and (iii) an ultrasound image of
the unborn child that depicts the measurements. The qualified physician shall provide this
information, including the ultrasound image, to the Department of Health and Human Services
pursuant to subsection (c) of this section.
     (b)     Recording of Findings. – A qualified physician who procures or causes a miscarriage
or abortion after the twelfth week of a woman's pregnancy shall record the findings and analysis
on which the qualified physician based the determination that there existed a medical emergency,
life-limiting anomaly, rape, or incest and shall provide that information to the Department of
Health and Human Services pursuant to subsection (c) of this section. Materials generated by the
physician or provided by the physician to the Department of Health and Human Services pursuant
to this section shall not be public records under G.S. 132-1. The information provided under this
subsection shall be for statistical purposes only, and the confidentiality of the patient and the
physician shall be protected. It is the duty of the qualified physician to submit information to the
Department of Health and Human Services that omits identifying information of the patient and
complies with Health Insurance Portability and Accountability Act of 1996 (HIPAA).
     (c)     Reports. – The Department of Health and Human Services shall prescribe and collect
on an annual basis, from hospitals, ambulatory surgical facilities, or licensed clinics where
abortions are performed, statistical summary reports concerning the medical and demographic
characteristics of the abortions provided for in this section, including the information described
in subsection (b) of this section as it shall deem to be in the public interest. Hospitals, ambulatory
surgical facilities, or licensed clinics where abortions are performed shall be responsible for
providing these statistical summary reports to the Department of Health and Human Services.
The reports shall be for statistical purposes only, and the confidentiality of the patient relationship
shall be protected. Materials generated by the physician or provided by the physician to the
Department of Health and Human Services pursuant to this section shall not be public records
under G.S. 132-1.
     (d)     Fetal Death Reporting. – The requirements of G.S. 130A-114 are not applicable to
abortions performed pursuant to this section.
     (e)     Medical Personnel Objection. – No physician, nurse, or any other health care provider
who shall state an objection to abortion on moral, ethical, or religious grounds shall be required
to perform or participate in medical procedures which result in an abortion. The refusal of a
physician, nurse, or health care provider to perform or participate in these medical procedures
shall not be a basis for damages for the refusal or for any disciplinary or any other recriminatory
action against the physician, nurse, or health care provider.

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     (f)      Requirement of Services. – Nothing in this section shall require a hospital, other
health care institution, or other health care provider to perform an abortion or to provide abortion
services.
     (g)      Clinic Inspection. – The Department of Health and Human Services shall annually
inspect any clinic, including ambulatory surgical facilities and any suitable facility under
G.S. 90-21.82A, where abortions are performed. The Department of Health and Human Services
shall publish on the Department's website and on the State website established under this Article
the results and findings of all inspections conducted on or after January 1, 2013, of suitable
facilities, including ambulatory surgical facilities, where abortions are performed, including any
statement of deficiencies and any notice of administrative action resulting from the inspection.
No person who is less than 18 years of age shall be employed at any clinic, including ambulatory
surgical facilities, where abortions are performed. The requirements of this subsection shall not
apply to a hospital required to be licensed under Chapter 131E of the General Statutes.
"§ 90-21.81D. Life-limiting anomaly procedure; informed consent.
     (a)      Procedure; Informed Consent. – If a qualified physician has determined there exists a
life-limiting anomaly in accordance with this Article, in order to procure or cause a miscarriage
or abortion, the qualified physician who made that determination must (i) procure or cause the
miscarriage or abortion during the first 24 weeks of a woman's pregnancy and (ii) explain in
writing and orally or provide to the woman all of the following information:
              (1)     The basis of the determination that the diagnosis qualifies as life limiting.
              (2)     The risks associated with the life-limiting anomaly and any procedure or
                      treatment, medical, surgical, or otherwise, to perform the abortion.
              (3)     While there exists a risk of stillbirth with life-limiting anomalies, life-limiting
                      anomalies have resulted in live births of infants with unpredictable and
                      variable lengths of life.
              (4)     The woman has been provided by the qualified physician with current
                      information on the life-limiting anomaly, including the likelihood of survival
                      and length of survival, if known, after birth based on current medical evidence.
                      The qualified physician proposing the abortion will offer referrals to the
                      woman for neonatal and perinatal palliative care consultations. Neonatal
                      consultation will discuss options for medical stabilization, evaluation, and
                      possible treatments to support the infant after birth. Perinatal palliative care
                      will discuss a plan for comfort care interventions that include the possibility
                      of home discharge on palliative care.
              (5)     The woman has been provided all information contained in G.S. 90-21.82 if
                      the abortion is a surgical abortion or all information contained in
                      G.S. 90-21.83A if the abortion is a medical abortion, and her informed consent
                      has been obtained in accordance with those sections.
              (6)     The woman has been provided all information, in addition to the information
                      provided under subdivision (5) of this subsection, regarding her options and
                      the spectrum of care, including all of the following:
                      a.      Continuation of the pregnancy.
                      b.      Referrals offered to perinatal palliative comfort care service providers
                              to discuss palliative care, neonatal specialists, and other appropriate
                              specialists, as indicated by the particular life-limiting anomaly, and
                              those service providers can discuss those options, including the
                              stabilization of the infant in the labor and delivery room, transfer to
                              the Neonatal Intensive Care Unit for further evaluation and treatment,
                              and support for the mother and her family should they choose to
                              continue the pregnancy.


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    (b)      Affirmation. – All additional information provided to the woman under this section
shall be signed and initialed by both the woman and the qualified physician.
    (c)      Report. – The qualified physician who performs an abortion due to the determination
of a life-limiting anomaly under this section shall submit a report to the Department of Health
and Human Services for statistical purposes. The report shall include, at a minimum, all of the
following:
             (1)    Identification of the qualified physician who diagnosed the baby with a
                    life-limiting anomaly.
             (2)    The probable gestational age of the unborn child.
             (3)    Identification of the qualified physician who performed the abortion.
             (4)    The pregnant woman's age and race.
             (5)    The number of previous pregnancies, number of live births, and number of
                    previous abortions of the pregnant woman.
    (d)      Public Records. – Materials generated by the physician or provided by the physician
to the Department of Health and Human Services pursuant to this section shall not be public
records under G.S. 132-1.
"§ 90-21.82. Informed consent to surgical abortion.
    (a)      No surgical abortion shall be performed upon a woman in this State without her
voluntary and informed consent. consent as described in this section.
    (b)      Except in the case of a medical emergency, consent to an a surgical abortion is
voluntary and informed only if all of the following conditions are satisfied:
             (1)    At least 72 hours prior to the surgical abortion, a physician or qualified
                    professional has orally informed the woman, by telephone or in person, of the
                    information contained in the consent form.
             (1a) The consent form shall include, at a minimum, all of the following:
                    a.      The name of the physician who will perform the surgical abortion to
                            ensure the safety of the procedure and prompt medical attention to any
                            complications that may arise. The physician performing a surgical
                            abortion shall be physically present during the performance of the
                            entire abortion procedure. The physician prescribing, dispensing, or
                            otherwise providing any drug or chemical for the purpose of inducing
                            an abortion shall be physically present in the same room as the patient
                            when the first drug or chemical is administered to the patient.
                    b.      The particular medical risks associated with the particular surgical
                            abortion procedure to be employed, including, when medically
                            accurate, the risks of infection, hemorrhage, cervical tear or uterine
                            perforation, danger to subsequent pregnancies, including the ability to
                            carry a child to full term, and any adverse psychological effects
                            associated with the surgical abortion.
                    c.      The probable gestational age of the unborn child at the time the
                            surgical abortion is to be performed.
                    d.      The medical risks associated with carrying the child to term.
                    e.      The display of a real-time view of the unborn child and heart tone
                            monitoring that enable the pregnant woman to view her unborn child
                            or listen to the heartbeat of the unborn child are available to the
                            woman. The physician performing the surgical abortion, qualified
                            technician, or referring physician shall inform the woman that the
                            printed materials and Web site website described in G.S. 90-21.83 and
                            G.S. 90-21.84 contain phone numbers and addresses for facilities that
                            offer the services free of charge. If requested by the woman, the


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                          physician or qualified professional shall provide to the woman the list
                          as compiled by the Department.
                  f.      If the physician who is to perform the surgical abortion has no liability
                          insurance for malpractice in the performance or attempted
                          performance of an a surgical abortion, that information shall be
                          communicated.
                  g.      The location of the hospital that offers obstetrical or gynecological
                          care located within 30 miles of the location where the surgical abortion
                          is performed or induced and at which the physician performing or
                          inducing the surgical abortion has clinical privileges. If the physician
                          who will perform the surgical abortion has no local hospital admitting
                          privileges, that information shall be communicated.
                  If the physician or qualified professional does not know the information
                  required in sub-subdivisions a., f., or g. of this subdivision, the woman shall
                  be advised that this information will be directly available from the physician
                  who is to perform the surgical abortion. However, the fact that the physician
                  or qualified professional does not know the information required in
                  sub-subdivisions a., f., or g. shall not restart the 72-hour period. The
                  information required by this subdivision shall be provided in English and in
                  each language that is the primary language of at least two percent (2%) of the
                  State's population. The information may shall be provided orally either by
                  telephone or in person, by the physician or qualified professional, in which
                  case the required information may be based on facts supplied by the woman
                  to the physician and whatever other relevant information is reasonably
                  available. The information required by this subdivision may shall not be
                  provided by a tape recording but shall be provided during a consultation in
                  which the physician is able to ask questions of the patient and the patient is
                  able to ask questions of the physician. If, in the medical judgment of the
                  physician, a physical examination, tests, or the availability of other
                  information to the physician subsequently indicates a revision of the
                  information previously supplied to the patient, then that revised information
                  may be communicated to the patient at any time before the performance of the
                  surgical abortion. Nothing in this section may be construed to preclude
                  provision of required information in a language understood by the patient
                  through a translator.
           (1b)   A consent form shall not be considered valid, and informed consent not
                  obtained by the woman, unless all of the following conditions are satisfied:
                  a.      The woman signs and initials each entry, list, description, or
                          declaration required to be on the consent form described in
                          sub-subdivisions a. through g. of subdivision (1a) of this subsection.
                  b.      The woman signs and initials each entry, list, description, or
                          declaration required to be on the acknowledgment of risks and consent
                          statement described in sub-subdivisions a. through n. of subdivision
                          (2) of this subsection.
                  c.      The physician signs the qualified physician declaration described in
                          subdivision (5) of this subsection.
                  d.      The physician uses the consent form created by the Department for the
                          purposes of this section.
           (2)    The physician or qualified professional has informed the woman, either by
                  telephone or in person, of each of the following Prior to the surgical abortion,
                  an acknowledgment of risks and consent statement must be signed and

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              initialed by the woman with a physical or electronic signature attesting she
              has received all of the following information at least 72 hours before the
              abortion:surgical abortion. The acknowledgment of risks and consent
              statement shall include, at a minimum, all of the following:
              a.      That medical assistance benefits may be available for prenatal care,
                      childbirth, and neonatal care.
              b.      That public assistance programs under Chapter 108A of the General
                      Statutes may or may not be available as benefits under federal and
                      State assistance programs.
              c.      That the father is liable to assist in the support of the child, even if the
                      father has offered to pay for the abortion.
              d.      That the woman has other alternatives to abortion, including keeping
                      the baby or placing the baby for adoption.
              e.      That the woman has the right to review been told about the printed
                      materials described in G.S. 90-21.83, and that she has been told that
                      these materials are available on a State-sponsored Web site, website,
                      and she has been given the address of the State-sponsored Web site.
                      website. The physician or a qualified professional shall orally inform
                      the woman that the materials have been provided by the Department
                      and that they describe the unborn child and list agencies that offer
                      alternatives to abortion. If the woman chooses to view the materials
                      other than on the Web site, website, the materials shall either be given
                      to her at least 72 hours before the abortion or be mailed to her at least
                      72 hours before the abortion by certified mail, restricted delivery to
                      addressee.surgical abortion.
              f.      That the woman (i) is not being forced to have a surgical abortion, (ii)
                      has a choice to not have the surgical abortion, and (iii) is free to
                      withhold or withdraw her consent to the surgical abortion at any time
                      before or during the surgical abortion without affecting her right to
                      future care or treatment and without the loss of any State or federally
                      funded benefits to which she might otherwise be entitled.
              g.      Attestation that the woman understands that the surgical abortion is
                      intended to end her pregnancy.
              h.      Attestation that the woman understands the surgical abortion has
                      specific risks and may result in specific complications.
              i.      Attestation that the woman has been given the opportunity to ask
                      questions about her pregnancy, the development of her unborn child,
                      and alternatives to surgical abortion.
              j.      Confirmation that the woman has been provided access to
                      State-prepared, printed materials on informed consent for surgical
                      abortion and the State-prepared and maintained website on informed
                      consent for a surgical abortion.
              k.      If applicable, that the woman has been given the name and phone
                      number of a qualified physician who has agreed to provide medical
                      care and treatment in the event of complications associated with the
                      surgical abortion procedure.
              l.      Attestation that the woman has received or been given sufficient
                      information to give her informed consent to the surgical abortion.
              m.      That the woman has a private right of action to sue the qualified
                      physician under the laws of this State if she feels she has been coerced


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                           or misled prior to obtaining an abortion, and how to access State
                           resources regarding her legal right to obtain relief.
                   n.      A statement that she will be given a copy of the forms and materials
                           with all signatures and initials required under this Article, and all other
                           informed consent forms required by this State.
                   The information required by this subdivision shall be provided in English and
                   in each language that is the primary language of at least two percent (2%) of
                   the State's population. The information required by this subdivision may be
                   provided by a tape recording if provision is made to record or otherwise
                   register specifically whether the woman does or does not choose to have the
                   printed materials given or mailed to her. Nothing in this subdivision shall be
                   construed to prohibit the physician or qualified professional from e-mailing a
                   Web site link to the materials described in this subdivision or G.S. 90-21.83.
           (3)     The woman certifies in writing, before the abortion, that the information
                   described in subdivisions (1) and (2) of this section has been furnished her and
                   that she has been informed of her opportunity to review the information
                   referred to in sub-subdivision (2)e. of this section. The original of this
                   certification shall be maintained in the woman's medical records, and a copy
                   shall be given to her.
           (4)     Before the performance of the abortion, the physician who will perform the
                   abortion or the qualified technician must receive a copy of the written
                   certification required by subdivision (3) of this section.
           (5)     The physician has signed a physician declaration form stating that prior to the
                   surgical abortion procedure, the qualified physician has (i) explained in person
                   the surgical abortion procedure to be used, (ii) provided all of the information
                   required in this section, and (iii) answered all of the woman's questions
                   regarding the surgical abortion.
"§ 90-21.83. Printed information required.
    (a)    Within 90 days after this Article becomes effective, the Department shall publish in
English and in each language that is the primary language of at least two percent (2%) of the
State's population and shall cause to be available on the State Web site website established under
G.S. 90-21.84, the following printed materials in a manner that ensures that the information is
comprehensible to a person of ordinary intelligence:
           (1)     Geographically indexed materials designed to inform a woman of public and
                   private agencies and services available to assist her through pregnancy, upon
                   childbirth, and while the child is dependent, including adoption agencies. The
                   information shall include a comprehensive list of the agencies available, a
                   description of the services they offer, including which agencies offer, at no
                   cost to the woman, imaging that enables the woman to view the unborn child
                   or heart tone monitoring that enables the woman to listen to the heartbeat of
                   the unborn child, and a description of the manner, including telephone
                   numbers, in which they might be contacted. In the alternative, in the discretion
                   of the Department, the printed materials may contain a toll-free,
                   24-hour-a-day telephone number that may be called to obtain, orally or by tape
                   recorded message tailored to the zip code entered by the caller, a list of these
                   agencies in the locality of the caller and of the services they offer.
           (2)     Materials designed to inform the woman of the probable anatomical and
                   physiological characteristics of the unborn child at two-week gestational
                   increments from the time a woman can be known to be pregnant until full
                   term, including pictures or drawings representing the development of the
                   unborn child at two-week gestational increments. The pictures shall contain

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                    the dimensions of the unborn child, information about brain and heart
                    functions, the presence of external members and internal organs, and be
                    realistic and appropriate for the stage of pregnancy depicted. The materials
                    shall be objective, nonjudgmental, and designed to convey only accurate
                    scientific information about the unborn child at the various gestational ages.
                    The material shall contain objective information describing the methods of
                    abortion procedures employed, the medical risks associated with each
                    procedure, the possible adverse psychological effects of abortion, as well as
                    the medical risks associated with carrying an unborn child to term.
    (b)     The materials referred to in subsection (a) of this section shall be printed in a typeface
large enough to be clearly legible. The Web site website provided for in G.S. 90-21.84 shall be
maintained at a minimum resolution of 70 DPI (dots per inch). All pictures appearing on the Web
site website shall be a minimum of 200x300 pixels. All letters on the Web site website shall be a
minimum of 12-point font. All information and pictures shall be accessible with an
industry-standard browser requiring no additional plug-ins.
    (c)     The materials required under this section shall be available at no cost from the
Department upon request and in appropriate numbers to any physician, person, health facility,
hospital, or qualified professional. The Department shall create the consent forms described in
this section to be used by qualified physicians for the purposes of obtaining informed consent for
surgical and medical abortions.
    (d)     The Department shall cause to be available on the State Web site website a list of
resources the woman may contact for assistance upon receiving information from the physician
performing the ultrasound that the unborn child may have a disability or serious abnormality and
shall do so in a manner prescribed by subsection (b) of this section.
"§ 90-21.83A. Informed consent to medical abortion.
    (a)     No medical abortion shall be performed upon a woman in this State without her
voluntary and informed consent as described in this section.
    (b)     Except in the case of a medical emergency, consent to a medical abortion is voluntary
and informed only if all of the following conditions are satisfied:
            (1)     At least 72 hours prior to the medical abortion, a qualified physician or
                    qualified professional has orally informed the woman, in person, of the
                    information contained in the consent form.
            (2)     The consent form shall include, at a minimum, all of the following:
                    a.       The name of the physician who will prescribe, dispense, or otherwise
                             provide the abortion-inducing drugs to ensure the safety of the
                             procedure and prompt medical attention to any complications that may
                             arise. The physician prescribing, dispensing, or otherwise providing
                             any drug or chemical for the purpose of inducing an abortion shall be
                             physically present in the same room as the woman when the first drug
                             or chemical is administered to the woman.
                    b.       The probable gestational age of the unborn child as determined by both
                             patient history and by ultrasound results used to confirm gestational
                             age.
                    c.       A detailed description of the steps to complete the medical abortion.
                    d.       A detailed list of the risks related to the specific abortion-inducing
                             drug or drugs to be used, including hemorrhage, failure to remove all
                             tissue of the unborn child which may require an additional procedure,
                             sepsis, sterility, and possible continuation of the pregnancy.
                    e.       The medical risks associated with carrying the child to term.
                    f.       The display of a real-time view of the unborn child and heart tone
                             monitoring that enable the pregnant woman to view her unborn child

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                         or listen to the heartbeat of the unborn child are available to the
                         woman. The physician performing the abortion, qualified technician,
                         or referring physician shall inform the woman that the printed
                         materials and website described in G.S. 90-21.83 and G.S. 90-21.84
                         contain phone numbers and addresses for facilities that offer the
                         services free of charge. If requested by the woman, the physician or
                         qualified professional shall provide to the woman the list as compiled
                         by the Department.
                 g.      Information about Rh incompatibility, including that if the woman has
                         an Rh-negative blood type, she could receive an injection of Rh
                         immunoglobulin at the time of the medical abortion to prevent Rh
                         incompatibility in future pregnancies.
                 h.      Information about the risks of complications from a medical abortion,
                         including incomplete abortion, increase with advancing gestational
                         age, and that infection and hemorrhage are the most common causes
                         of deaths related to medical abortions.
                 i.      Notice that the woman may see the remains of her unborn child in the
                         process of completing the abortion.
                 j.      Notice that the physician who is to perform the medical abortion has
                         no liability insurance for malpractice in the performance or attempted
                         performance of an abortion, if applicable.
                 k.      The location of the hospital that offers obstetrical or gynecological
                         care located within 30 miles of the location where the medical abortion
                         is performed or induced and at which the physician performing or
                         inducing the medical abortion has clinical privileges. If the physician
                         who will perform the medical abortion has no local hospital admitting
                         privileges, that information shall be communicated.
                 If the physician or qualified professional does not know the information
                 required in sub-subdivision a., j., or k. of this subdivision, the woman shall be
                 advised that this information will be directly available from the physician who
                 is to perform the medical abortion. However, the fact that the physician or
                 qualified professional does not know the information required in
                 sub-subdivision a., j., or k. shall not restart the 72-hour period. The
                 information required by this subdivision shall be provided in English and in
                 each language that is the primary language of at least two percent (2%) of the
                 State's population. The information shall be provided orally in person, by the
                 physician or qualified professional, in which case the required information
                 may be based on facts supplied by the woman to the physician and whatever
                 other relevant information is reasonably available. The information required
                 by this subdivision shall not be provided by a tape recording but shall be
                 provided during a consultation in which the physician is able to ask questions
                 of the patient and the patient is able to ask questions of the physician. If, in
                 the medical judgment of the physician, a physical examination, tests, or the
                 availability of other information to the physician subsequently indicates a
                 revision of the information previously supplied to the patient, then that revised
                 information may be communicated to the patient at any time before the
                 performance of the medical abortion. Nothing in this section may be construed
                 to preclude provision of required information in a language understood by the
                 patient through a translator.
           (3)   A consent form shall not be considered valid, and informed consent not
                 obtained from the woman, unless all of the following conditions are satisfied:

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                a.      The woman signs and initials each entry, list, description, or
                        declaration required to be on the consent form described in subdivision
                        (2) of this subsection.
                b.      The woman signs and initials each entry, list, description, or
                        declaration required to be on the acknowledgment of risks and consent
                        statement described in subdivision (4) of this subsection.
                c.      The physician signs the qualified physician declaration described in
                        subdivision (5) of this subsection.
                d.      The physician uses the consent form created by the Department for the
                        purposes of this section.
          (4)   Prior to the medical abortion, an acknowledgment of risks and consent
                statement must be signed and initialed by the woman with a physical or
                electronic signature attesting she has received all of the following information
                at least 72 hours before the medical abortion. The acknowledgment of risks
                and consent statement shall include, at a minimum, all of the following:
                a.      That medical assistance benefits may be available for prenatal care,
                        childbirth, and neonatal care.
                b.      That public assistance programs under Chapter 108A of the General
                        Statutes may or may not be available as benefits under federal and
                        State assistance programs.
                c.      That the father is liable to assist in the support of the child, even if the
                        father has offered to pay for the abortion.
                d.      That the woman has other alternatives to abortion, including keeping
                        the baby or placing the baby for adoption.
                e.      That the woman has been told about the printed materials described in
                        G.S. 90-21.83, and that she has been told that these materials are
                        available on a State-sponsored website, and she has been given the
                        address of the State-sponsored website. The physician or a qualified
                        professional shall orally inform the woman that the materials have
                        been provided by the Department and that they describe the unborn
                        child and list agencies that offer alternatives to abortion. If the woman
                        chooses to view the materials other than on the website, the materials
                        shall be given to her at least 72 hours before the medical abortion.
                f.      Attestation that the woman (i) is not being forced to have a medical
                        abortion, (ii) has a choice to not have the medical abortion, and (iii) is
                        free to withhold or withdraw her consent to the abortion-inducing drug
                        regimen even after she has begun the abortion-inducing drug regimen.
                g.      Attestation that the woman understands that the medical abortion is
                        intended to end her pregnancy.
                h.      Attestation that the woman understands the medical abortion regimen
                        has specific risks and may result in specific complications.
                i.      Attestation that the woman has been given the opportunity to ask
                        questions about her pregnancy, the development of her unborn child,
                        and alternatives to medical abortion.
                j.      Confirmation that the woman has been provided access to
                        State-prepared, printed materials on informed consent for abortion and
                        the State-prepared and maintained website on informed consent for a
                        medical abortion.
                k.      If applicable, that the woman has been given the name and phone
                        number of a qualified physician who has agreed to provide medical


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                          care and treatment in the event of complications associated with the
                          abortion-inducing drug regimen.
                  l.      Notice that the physician will schedule an in-person follow-up visit for
                          the woman at approximately seven to 14 days after providing the
                          abortion-inducing drug or drugs to confirm that the pregnancy is
                          completely terminated and to assess the degree of bleeding and other
                          complications.
                  m.      That the woman has received or been given sufficient information to
                          give her informed consent to the abortion-inducing drug regimen or
                          procedure.
                  n.      That the woman has a private right of action to sue the qualified
                          physician under the laws of this State if she feels she has been coerced
                          or misled prior to obtaining an abortion, and how to access State
                          resources regarding her legal right to obtain relief.
                  o.      A statement that she will be given a copy of the forms and materials
                          with all signatures and initials required under this Article, and all other
                          informed consent forms required by this State.
                  The information required by this subdivision shall be provided in English and
                  in each language that is the primary language of at least two percent (2%) of
                  the State's population.
           (5)    The physician has signed a physician declaration form stating that prior to the
                  medical abortion procedure, the qualified physician has (i) explained in person
                  the medical abortion procedure to be used, (ii) provided all of the information
                  required in this section, and (iii) answered all of the woman's questions
                  regarding the medical abortion.
"§ 90-21.83B. Distribution of abortion-inducing drugs and duties of physician.
    (a)    A physician prescribing, administering, or dispensing an abortion-inducing drug must
examine the woman in person and, prior to providing an abortion-inducing drug, shall do all of
the following:
           (1)    Independently verify that the pregnancy exists.
           (2)    Determine the woman's blood type; offer necessary medical services,
                  treatment, and advice, based on the physician's reasonable medical judgment
                  of any medical risks associated with the woman's blood type, including
                  whether the woman's blood type is Rh negative; and be able to administer Rh
                  immunoglobulin at the time of the abortion, if medically necessary.
           (3)    Provide any other medically indicated diagnostic tests, including iron or
                  hemoglobin/hematocrit tests, to determine whether the woman has a
                  heightened risk of complications.
           (4)    Screen the woman for coercion, abuse, comply with G.S. 90-21.91, and refer
                  the woman to the appropriate health care provider for appropriate treatment,
                  if medically necessary.
           (5)    Inform the patient that she may see the remains of her unborn child in the
                  process of completing the abortion.
           (6)    Verify that the probable gestational age of the unborn child is no more than
                  70 days.
           (7)    Document in the woman's medical chart the probable gestation age and
                  intrauterine location of the pregnancy, and whether the woman received
                  treatment for an Rh negative condition or any other diagnostic tests.
           (8)    Comply with all provisions of this Article and laws of this State as applicable.
    (b)    The physician providing any abortion-inducing drug, or an agent of the physician,
shall schedule a follow-up visit for the woman at approximately seven to 14 days after

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administration of the abortion-inducing drug to confirm that the pregnancy is completely
terminated and to assess the degree of bleeding. The physician shall make all reasonable efforts
to ensure that the woman returns for the scheduled appointment. A brief description of the efforts
made to comply with this subsection, including the date, time, and identification by name of the
person making these efforts, shall be included in the woman's medical records.
"§ 90-21.83C. Additional information provided to the pregnant woman.
    At least 72 hours prior to any medical or surgical abortion performed in accordance with this
Article, the physician providing the abortion-inducing drug, performing the surgical abortion, or
conducting any other appointment where an abortion is to be induced or performed shall provide
the pregnant woman the physician's full name and specific information for the physician's
hospital admitting privileges and whether the treatment or procedure to be performed is covered
by the pregnant woman's insurance.
"§ 90-21.84. Internet Web site.website.
    The Department shall develop and maintain a stable Internet Web site website to provide the
information described under G.S. 90-21.83. in this Article. No information regarding who
accesses the Web site website shall be collected or maintained. The Department shall monitor
the Web site on a regular basis to prevent and correct tampering.
"§ 90-21.85. Display of real-time view requirement.
    (a)     Notwithstanding G.S. 14-45.1, except in the case of a medical emergency, in order
for the woman to make an informed decision, at least four hours before a woman having any part
of an abortion performed or induced, and before the administration of any anesthesia or
medication in preparation for the abortion on the woman, the physician who is to perform the
abortion, or qualified technician working in conjunction with the physician, shall do each of the
following:
            (1)     Perform an obstetric real-time view of the unborn child on the pregnant
                    woman.
            (2)     Provide a simultaneous explanation of what the display is depicting, which
                    shall include the presence, location, and dimensions of the unborn child within
                    the uterus and the number of unborn children depicted. The individual
                    performing the display shall offer the pregnant woman the opportunity to hear
                    the fetal heart tone. The image and auscultation of fetal heart tone shall be of
                    a quality consistent with the standard medical practice in the community. If
                    the image indicates that fetal demise has occurred, a woman shall be informed
                    of that fact.
            (3)     Display the images so that the pregnant woman may view them.
            (4)     Provide a medical description of the images, which shall include the
                    dimensions of the embryo or fetus and the presence of external members and
                    internal organs, if present and viewable.
            (5)     Obtain a written certification from the woman, before the abortion, that the
                    requirements of this section have been complied with, which shall indicate
                    whether or not she availed herself of the opportunity to view the image.
            (6)     Retain a copy of the written certification prescribed by subdivision (a)(5) of
                    this section. The certification shall be placed in the medical file of the woman
                    and shall be kept by the abortion provider for a period of not less than seven
                    years. If the woman is a minor, then the certification shall be placed in the
                    medical file of the minor and kept for at least seven years or for five years
                    after the minor reaches the age of majority, whichever is greater.
If the woman has had an obstetric display of a real-time image of the unborn child within 72
hours before the abortion is to be performed, the certification of the physician or qualified
technician who performed the procedure in compliance with this subsection shall be included in


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the patient's records and the requirements under this subsection shall be deemed to have been
met.
    (a1) A pregnant woman has the right to view a real-time view image of the unborn child
under this section and shall not be denied a real-time view of the unborn child due to a clinic
policy or rule.
    (b)      Nothing in this section shall be construed to prevent a pregnant woman from averting
her eyes from the displayed images or from refusing to hear the simultaneous explanation and
medical description.
    (c)      In the event the person upon whom the abortion is to be performed is an
unemancipated minor, as defined in G.S. 90-21.6(1), the information described in subdivisions
(a)(2) and (a)(4) of this section shall be furnished and offered respectively to a person required
to give parental consent under G.S. 90-21.7(a) and the unemancipated minor. The person
required to give consent in accordance with G.S. 90-21.7(a), as appropriate, shall make the
certification required by subdivision (a)(5) of this section. In the event the person upon whom
the abortion is to be performed has been adjudicated mentally incompetent by a court of
competent jurisdiction, the information shall be furnished and offered respectively to her spouse
or a legal guardian if she is married or, if she is not married, to one parent or a legal guardian and
the woman. The spouse, legal guardian, or parent, as appropriate, shall make the certification
required by subdivision (a)(5) of this section. In the case of an abortion performed pursuant to a
court order under G.S. 90-21.8(e) and (f), the information described in subdivisions (a)(2) and
(a)(4) of this section shall be provided to the minor, and the certification required by subdivision
(a)(5) of this section shall be made by the minor.
"§ 90-21.86. Procedure in case of medical emergency.
    When a medical emergency compels the performance of an abortion, the physician shall
inform the woman, before the abortion if possible, of the medical indications supporting the
physician's judgment that an abortion is necessary to avert her death or that a 72-hour delay will
create a serious risk of substantial and irreversible impairment of a major bodily function, not
including psychological or emotional conditions. As soon as feasible, the physician shall
document in writing the medical indications upon which the physician relied and shall cause the
original of the writing to be maintained in the woman's medical records and a copy given to her.
"§ 90-21.87. Informed consent for a minor.
    If the woman upon whom an abortion is to be performed is an unemancipated minor, the
voluntary and informed written consent required under G.S. 90-21.82 or G.S. 90-21.83A shall be
obtained from the minor and from the adult individual who gives consent pursuant to
G.S. 90-21.7(a).
"§ 90-21.88. Civil remedies.
    (a)      Any person upon whom an abortion has been performed performed, her personal
representative in the event of a wrongful death action in accordance with G.S. 28A-18-1, and any
father of an unborn child that was the subject of an abortion may maintain an action for damages
against the person who performed the abortion in knowing or reckless violation of this Article.
Any person upon whom an abortion has been attempted may maintain an action for damages
against the person who performed the abortion in willful violation of this Article.
    (a1) Notwithstanding any other provision of law, (i) a woman upon whom the abortion has
been attempted, induced, or performed or (ii) her parent or guardian, if she is a minor at the time
of the attempted or completed abortion, may bring an action under this section within three years
from the date of the alleged violation or from the date of the initial discovery of harm from an
alleged violation. If at the time of the alleged violation the woman is a minor, then the minor
shall have three years from the date the minor attains the age of majority to bring an action under
this section.
    (b)      Injunctive relief against any person who has willfully violated this Article may be
sought by and granted to (i) the woman upon whom an abortion was performed or attempted to

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be performed in violation of this Article, (ii) any person who is the spouse, parent, sibling, or
guardian of, or a current or former licensed health care provider of, the woman upon whom an
abortion has been performed or attempted to be performed in violation of this Article, or (iii) the
Attorney General. The injunction shall prevent the abortion provider from performing or
inducing further abortions in this State in violation of this Article.
     (c)    If judgment is rendered in favor of the plaintiff in any action authorized under this
section, the court shall also tax as part of the costs reasonable attorneys' fees in favor of the
plaintiff against the defendant. If judgment is rendered in favor of the defendant and the court
finds that the plaintiff's suit was frivolous or brought in bad faith, then the court shall tax as part
of the costs reasonable attorneys' fees in favor of the defendant against the plaintiff.
"§ 90-21.88A. Violation of this Article.
     A physician who violates any provision of this Article shall be subject to discipline by the
North Carolina Medical Board under G.S. 90-14(a)(2) and any other applicable law or rule. Any
licensed pharmacist who violates any provision of this Article shall be subject to discipline by
the North Carolina Board of Pharmacy under Article 4A of this Chapter. Any other licensed
health care provider who violates any provision of this Article shall be subject to discipline under
their respective licensing agency or board. No pregnant woman seeking to obtain an abortion in
accordance with this Article shall be subject to professional discipline for attempting to do so.
"§ 90-21.89. Protection of privacy in court proceedings.
     In every proceeding or action brought under this Article, the court shall rule whether the
anonymity of any woman upon whom an abortion has been performed or attempted shall be
preserved from public disclosure if she does not give her consent to the disclosure. The court,
upon motion or sua sponte, shall make the ruling and, upon determining that her anonymity
should be preserved, shall issue orders to the parties, witnesses, and counsel and shall direct the
sealing of the record and exclusion of individuals from courtrooms or hearing rooms to the extent
necessary to safeguard her identity from public disclosure. Each order issued pursuant to this
section shall be accompanied by specific written findings explaining (i) why the anonymity of
the woman should be preserved from public disclosure, (ii) why the order is essential to that end,
(iii) how the order is narrowly tailored to serve that interest, and (iv) why no reasonable less
restrictive alternative exists. In the absence of written consent of the woman upon whom an
abortion has been performed or attempted, anyone who brings an action under G.S. 90-21.88 (a)
or (b) shall do so under a pseudonym. This section may not be construed to conceal the identity
of the plaintiff or of witnesses from the defendant.
"§ 90-21.90. Assurance of informed consent.
     (a)    All information required to be provided under G.S. 90-21.82 and G.S. 90-21.83A to
a woman considering abortion shall be presented to the woman individually and, except for
information that may be provided by telephone, and in the physical presence of the woman and
in a language the woman understands to ensure that the woman has adequate opportunity to ask
questions and to ensure the woman is not the victim of a coerced abortion.
     (b)    Should a woman be unable to read the materials provided to the woman pursuant to
this section, a physician or qualified professional shall read the materials to the woman in a
language the woman understands before the abortion.
"§ 90-21.91. Assurance that consent is freely given.
     If a physician acting pursuant to this Article has reason to believe that a woman is being
coerced into having an abortion, the physician or qualified professional shall inform the woman
that services are available for the woman and shall provide the woman with private access to a
telephone and information about, but not limited to, each of the following services:
            (1)      Rape crisis centers.
            (2)      Shelters for victims of domestic violence.
            (3)      Restraining orders.
            (4)      Pregnancy care centers.

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"§ 90-21.92. Severability.
    If any one or more provision, section, subsection, sentence, clause, phrase, or word of this
Article or the application thereof to any person or circumstance is found to be unconstitutional,
the same is hereby declared to be severable, and the balance of this Article shall remain effective,
notwithstanding such unconstitutionality. The General Assembly hereby declares that it would
have passed this Article, and each provision, section, subsection, sentence, clause, phrase, or
word thereof, irrespective of the fact that any one or more provision, section, subsection,
sentence, clause, phrase, or word be declared unconstitutional.
"§ 90-21.93. Reporting requirements.
    (a)     Report. – After a surgical or medical abortion is performed, the physician or health
care provider that conducted the surgical or medical abortion shall complete and transmit a report
to the Department in compliance with the requirements of this section. The report shall be
completed by either the hospital, clinic, or health care provider in which the surgical or medical
abortion was completed and signed by the physician who dispensed, administered, prescribed, or
otherwise provided the abortion-inducing drug or performed the procedure or treatment to the
woman. Any physician or health care provider shall make reasonable efforts to include all of the
required information in this section in the report without violating the privacy of the woman. The
report shall be transmitted to the Department within 15 days after either the (i) date of the
follow-up appointment following a medical abortion, (ii) date of the last patient encounter for
treatment directly related to a surgical abortion, or (iii) end of the month in which the last
scheduled appointment occurred, whichever is later. A report completed under this section for a
minor shall be sent to the Department and the Division of Social Services within three days of
the surgical or medical abortion.
    (b)     Contents. – Each report completed in accordance with this section shall contain, at a
minimum, all of the following:
            (1)     Identifying information of the (i) physician who provided the
                    abortion-inducing drug or performed the surgical abortion and (ii) referring
                    physician, agency, or service, if applicable.
            (2)     The location, date, and type of the surgical abortion, or the location of where
                    any abortion-inducing drug was administered or dispensed, including any
                    health care provider facility, at the home of the pregnant woman, or other
                    location.
            (3)     The woman's county, state, and country of residence; age; and race.
            (4)     The woman's number of live births, previous pregnancies, and number of
                    previous abortions.
            (5)     The woman's preexisting medical conditions, which could complicate her
                    pregnancy.
            (6)     The probable gestational age of the unborn child, as determined by both
                    patient history and ultrasound, and the date of the ultrasound used to estimate
                    gestational age.
            (7)     The abortion-inducing drugs used, and the date in which the abortion-inducing
                    drugs were dispensed, administered, and used.
            (8)     Whether the woman returned for the scheduled follow-up appointment or
                    examination to determine the completion of the abortion procedure and to
                    assess bleeding, the results of the follow-up appointment or examination, and
                    the date of any follow-up appointment or examination of the abortion
                    procedure.
            (9)     The reasonable efforts of the physician to encourage the woman to attend the
                    follow-up appointment or examination if the woman did not attend.
            (10) Any specific complications the woman suffered from the abortion procedure.


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           (11)      The amount of money billed to cover the treatment for specific complications,
                     including whether the treatment was billed to Medicaid, private insurance,
                     private pay, or any other method, including ICD-10 diagnosis codes reported,
                     any other codes reported, any charges for hospitals, emergency departments,
                     physicians, prescriptions or other drugs, laboratory tests, and any other costs
                     for treatment.
    (c)      Adverse Event from Abortion-Inducing Drug Report. – If a woman has an adverse
event related to the administration, dispensing, or prescription of an abortion-inducing drug for
the purpose of inducing an abortion, the physician who provided the abortion-inducing drug or
the physician who diagnosed or treated the woman for the adverse event shall provide a written
report of the adverse event within three days of the adverse event to the Food and Drug
Administration through the MedWatch Reporting System and to the Department.
    (d)      Adverse Event or Complication from Abortion Procedure Report. – If a woman has
an adverse event or complication related to a surgical abortion or abortion procedure, the
physician or health care provider who performed the surgical abortion or abortion procedure or
the physician who diagnosed or treated the woman for the adverse event or complication shall
make a report of the adverse event or complication, including the diagnosis or treatment that was
provided. A report under this subsection shall be transmitted to the Department within 15 days
of the end of the month that the adverse event or complication occurred.
    (e)      Additional Report Contents. – In addition to the information in subsection (b) of this
section, a report made under subsection (c) or (d) of this section shall contain all of the following
information:
             (1)     The date the woman presented for treatment of the adverse event or
                     complication.
             (2)     The specific complication that led to the treatment, including any physical or
                     psychological conditions, which, in the reasonable medical judgment of a
                     physician or health care provider, arose as a primary or secondary result of an
                     induced abortion.
             (3)     Whether the woman obtained abortion-inducing drugs as a mail order or from
                     an internet website, and, if so, information identifying the name of the source,
                     website or URL address, and telemedicine provider.
    (f)      Departmental Reports. – The Department shall prepare a comprehensive annual
statistical report based upon the data gathered from reports under this Article. The report shall be
made available to the public in a downloadable format. On or before October 1, 2023, and each
October 1 thereafter, the Department shall submit the report to the Joint Legislative Oversight
Committee on Health and Human Services. The Department shall also submit data and the annual
report to the Centers for Disease Control and Prevention for inclusion in the annual Vital
Statistics Report. Original copies of reports shall be made available to the North Carolina Medical
Board, the North Carolina Board of Pharmacy, State law enforcement offices, and the Division
of Social Services for official use.
    (g)      Identifying Information. – A report completed under this section shall not contain the
woman's name, any common identifiers of the woman, or any other information that would make
it possible to identify the woman subject to a report under this section, including the woman's
social security number or drivers license identification number. The Department and any State
agency or any contractor thereof shall not maintain statistical information that may reveal the
identity of a woman obtaining or seeking to obtain a surgical or medical abortion. Absent a court
order, the Department and any State agency or any contractor thereof shall not compare data
concerning surgical or medical abortions or resulting complications maintained in an electronic
or other information system file or format with data in any other format or information system in
an effort to identify a woman obtaining or seeking to obtain a drug-induced abortion.


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    (h)      Communication of Information. – The Department shall communicate the reporting
requirements of this Article to all medical professional organizations, licensed physicians,
hospitals, emergency departments, clinics certified to perform abortion services under this
Article, other clinics and facilities that provide health care services, and any other health care
facility in this State."
             SECTION 1.3. Article 11 of Chapter 14 of the General Statutes is amended by
adding a new section to read:
"§ 14-44.1. Providing or advertising abortion-inducing drugs to pregnant woman.
    (a)      Offense. – All of the following are unlawful:
             (1)     For any individual within the State, including a physician, an employee or
                     contractor of a physician's office or clinic, or other abortion provider, or
                     organization within the State, including a physician's office or clinic or other
                     abortion provider, to mail, provide, or supply an abortion-inducing drug
                     directly to a pregnant woman in violation of G.S. 90-21.83A(b)(2)a. Lack of
                     knowledge or intent that the abortion-inducing drug will be administered
                     outside the physical presence of a physician shall not be a defense to a
                     violation of this subdivision.
             (2)     For any manufacturer or supplier of an abortion-inducing drug to ship or cause
                     to be shipped any abortion-inducing drug directly to a pregnant woman in
                     violation of G.S. 90-21.83A(b)(2)a. Lack of knowledge or intent that the
                     abortion-inducing drug will be administered outside the physical presence of
                     a physician shall not be a defense to a violation of this subdivision.
             (3)     For any individual or organization to purchase or otherwise procure an
                     advertisement, host or maintain an internet website, or provide an internet
                     service purposefully directed to a pregnant woman who is a resident of this
                     State when the individual or organization knows that the purpose of the
                     advertisement, website, or internet service is solely to promote the sale of an
                     abortion-inducing drug to be administered to a woman in violation of
                     G.S. 90-21.83A(b)(2)a.
    (b)      Punishment. – An individual or organization who violates this section commits an
infraction as defined in G.S. 14-3.1 and is subject to a fine of five thousand dollars ($5,000) per
violation.
    (c)      Definitions. – The following definitions apply in this section:
             (1)     Abortion-inducing drug. – As defined in G.S. 90-21.81(1a).
             (2)     Organization. – As defined in G.S. 15A-773(c)."
             SECTION 1.4.(a) G.S. 90-21.120 reads as rewritten:
"§ 90-21.120. Definitions.
    The following definitions apply in this Article:
             (1)     Abortion. – As defined in G.S. 90-21.81(1).G.S. 90-21.81.
             (2)     Attempt to perform an abortion. – As defined in G.S.
                     90-21.81(2).G.S. 90-21.81.
             (3)     Woman. – As defined in G.S. 90-21.81(11).G.S. 90-21.81."
             SECTION 1.4.(b) G.S. 90-21.121 reads as rewritten:
"§ 90-21.121. Sex-selective abortion Eugenic abortions prohibited.
    (a)      Notwithstanding any of the provisions of G.S. 14-45.1, G.S. 90-21.81B, no person
shall perform or attempt to perform an abortion upon a pregnant woman in this State with
knowledge, or an objective reason to know, if the person has knowledge that a significant factor
in the pregnant woman is seeking the abortion is related to the abortion, in whole or in part,
because of any of the following:
             (1)     The actual or presumed race or racial makeup of the unborn child.
             (2)     The sex of the unborn child.

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           (3)     The presence or presumed presence of Down syndrome.
   …."
            SECTION 1.4.(c) G.S. 90-21.6 reads as rewritten:
"§ 90-21.6. Definitions.
    For the purposes of Part 2 only of this Article, unless the context clearly requires otherwise:
            (1)     Abortion. – As defined in G.S. 90-21.81.
            (1a) "Unemancipated minor" or "minor" means any Unemancipated minor or
                    minor. – Any person under the age of 18 who has not been married or has not
                    been emancipated pursuant to Article 35 of Chapter 7B of the General
                    Statutes.
            (2)     "Abortion" means the use or prescription of any instrument, medicine, drug,
                    or any other substance or device with intent to terminate the pregnancy of a
                    woman known to be pregnant, for reasons other than to save the life or
                    preserve the health of an unborn child, to remove a dead unborn child, or to
                    deliver an unborn child prematurely, by accepted medical procedures in order
                    to preserve the health of both the mother and the unborn child."
            SECTION 1.5.(a) Section 1.3 of this Part becomes effective July 1, 2023, and applies
to offenses committed on or after that date. The remainder of this Part becomes effective on July
1, 2023.
            SECTION 1.5.(b) Prosecutions for offenses committed before the effective date of
this Part are not abated or affected by this Part, and the statutes that would be applicable but for
this Part remain applicable to those prosecutions.

PART II. SUITABLE FACILITIES FOR THE PERFORMANCE OF SURGICAL
ABORTIONS
            SECTION 2.1. Article 1I of Chapter 90 of the General Statutes is amended by adding
a new section to read:
"§ 90-21.82A. Suitable facilities for the performance of surgical abortions.
    (a)     The following definitions apply in this section:
            (1)     Abortion clinic. – As defined in G.S. 131E-153.1.
            (2)     Ambulatory surgical facility. – As defined in G.S. 131E-176.
            (3)     Hospital. – As defined in G.S. 131E-176.
    (b)     During the first 12 weeks of pregnancy, a physician licensed to practice medicine
under this Chapter may perform a surgical abortion in a hospital, an ambulatory surgical facility,
or an abortion clinic; provided, however, that (i) the clinic has been licensed by the Department
of Health and Human Services to be a suitable facility for the performance of abortions and (ii)
the licensed physician performs the abortion in accordance with this Article and Article 1K of
this Chapter.
    (c)     After the twelfth week of pregnancy, a physician licensed to practice medicine under
this Chapter may not perform a surgical abortion as permitted under North Carolina law in any
facility other than a hospital."
            SECTION 2.2. Article 6 of Chapter 131E of the General Statutes is amended by
adding a new Part to read:
                                "Part 4A. Abortion Clinic Licensure.
"§ 131E-153. Title; purpose.
    (a)     This Part shall be known as the "Abortion Clinic Licensure Act."
    (b)     The purpose of this Part is to provide for the development, establishment, and
enforcement of basic standards:
            (1)     For the care and treatment of individuals in abortion clinics; and
            (2)     For the maintenance and operation of abortion clinics so as to ensure safe and
                    adequate treatment of such individuals in abortion clinics.

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"§ 131E-153.1. Definitions.
     The following definitions apply in this Part, unless otherwise specified:
            (1)      Abortion clinic. – A freestanding facility, that is neither physically attached
                     nor operated by a hospital, for the performance of abortions during the first 12
                     weeks of pregnancy.
            (2)      Commission. – The North Carolina Medical Care Commission.
            (3)      Operating room. – A room used for the performance of surgical procedures
                     requiring one or more incisions and that is required to comply with all
                     applicable licensure codes and standards for an operating room.
"§ 131E-153.2. Licensure requirement.
     (a)    No person shall operate an abortion clinic without a license obtained from the
Department.
     (b)    Applications shall be available from the Department, and each application filed with
the Department shall contain all necessary and reasonable information that the Department may
by rule require. A license shall be granted to the applicant upon a determination by the
Department that the applicant has complied with the provisions of this Part and the rules adopted
by the Commission under this Part. The Department shall charge the applicant a nonrefundable
annual base license fee in the amount of eight hundred fifty dollars ($850.00) plus a
nonrefundable annual per-operating room fee in the amount of seventy-five dollars ($75.00).
     (c)    A license to operate an abortion clinic shall be annually renewed upon the filing and
the Department's approval of a renewal application. The renewal application shall be available
from the Department and shall contain all necessary and reasonable information that the
Department may by rule require.
     (d)    Each license shall be issued only for the premises and persons named in the
application and shall not be transferable or assignable except with the written approval of the
Department.
     (e)    Licenses shall be posted in a conspicuous place on the licensed premises.
"§ 131E-153.3. Fair billing and collections practices for abortion clinics.
     All abortion clinics licensed under this Part shall be subject to the fair billing and collections
practices set out in G.S. 131E-91.
"§ 131E-153.4. Adverse action on a license.
     (a)    Subject to subsection (b) of this section, the Department is authorized to deny a new
or renewal application for a license and to amend, recall, suspend, or revoke an existing license
upon a determination that there has been a substantial failure to comply with the provisions of
this Part or the rules adopted under this Part.
     (b)    Chapter 150B of the General Statutes, the Administrative Procedure Act, shall govern
all administrative action and judicial review in cases where the Department has taken the action
described in subsection (a) of this section.
"§ 131E-153.5. Rules and enforcement.
     (a)    The Commission is authorized to adopt, amend, and repeal all rules necessary for the
implementation of this Part. These rules shall be no stricter than those issued by the Commission
under G.S. 131E-79 of the Ambulatory Surgical Facility Licensure Act.
     (b)    The Department shall enforce the rules adopted or amended by the Commission with
respect to abortion clinics.
"§ 131E-153.6. Inspections.
     (a)    The Department shall make or cause to be made inspections of abortion clinics as
necessary. The Department is authorized to delegate to a State officer, agent, board, bureau, or
division of State government the authority to make inspections according to the rules adopted by
the Commission. The Department may revoke this delegated authority in its discretion.
     (b)    Notwithstanding the provisions of G.S. 8-53 or any other provision of law relating to
the confidentiality of communications between physician and patient, the representatives of the

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Department who make these inspections may review any writing or other record in any recording
medium that pertains to the admission, discharge, medication, treatment, medical condition, or
history of persons who are or have been patients of the facility being inspected unless that patient
objects, in writing, to review of that patient's records. Physicians, psychologists, psychiatrists,
nurses, and anyone else involved in giving treatment at or through a facility who may be
interviewed by representatives of the Department may disclose to these representatives
information related to an inquiry, notwithstanding the existence of the physician-patient privilege
in G.S. 8-53 or any other rule of law; provided, however, that the patient has not made written
objection to this disclosure. The facility, its employees, and any person interviewed during these
inspections shall be immune from liability for damages resulting from the disclosure of any
information to the Department. Any confidential or privileged information received from review
of records or interviews shall be kept confidential by the Department and not disclosed without
written authorization of the patient or legal representative, or unless disclosure is ordered by a
court of competent jurisdiction. The Department shall institute appropriate policies and
procedures to ensure that this information is not disclosed without authorization or court order.
The Department shall not disclose the name of anyone who has furnished information concerning
a facility without the consent of that person. Neither the names of persons furnishing information
nor any confidential or privileged information obtained from records or interviews shall be
considered "public records" within the meaning of G.S. 132-1. Prior to releasing any information
or allowing any inspections referred to in this section, the patient must be advised in writing by
the facility that the patient has the right to object, in writing, to this release of information or
review of the records and that by objecting, in writing, the patient may prohibit the inspection or
release of the records.
"§ 131E-153.7. Penalties.
    A person who owns in whole or in part or operates an abortion clinic without a license is
guilty of a Class 3 misdemeanor and upon conviction will be subject only to a fine of not more
than fifty dollars ($50.00) for the first offense and not more than five hundred dollars ($500.00)
for each subsequent offense. Each day of continuing violation after conviction is considered a
separate offense.
"§ 131E-153.8. Injunction.
    (a)     Notwithstanding the existence or pursuit of any other remedy, the Department may,
in the manner provided by law, maintain an action in the name of the State for injunction or other
process against any person or governmental unit to restrain or prevent the establishment, conduct,
management, or operation of an abortion clinic without a license.
    (b)     If any person shall hinder the proper performance of duty of the Secretary or a
representative in carrying out the provisions of this Part, the Secretary may institute an action in
the superior court of the county in which the hindrance occurred for injunctive relief against the
continued hindrance, irrespective of all other remedies at law.
    (c)     Actions under this section shall be in accordance with Article 37 of Chapter 1 of the
General Statutes and Rule 65 of the Rules of Civil Procedure."
            SECTION 2.3. G.S. 131E-272 reads as rewritten:
"§ 131E-272. Initial licensure fees for new facilities.
    The following fees are initial licensure fees for new facilities and are applicable as follows:
                                Number                  Initial                 Initial
Facility Type                   of Beds                 License Fee             Bed Fee
Adult Care Licensure            More than 6             $400.00                 $19.00
                                6 or Fewer              $350.00                 $-
Acute and Home Care
General Acute Hospitals         1-49                    $550.00                 $19.00
                                50-99                   $750.00                 $19.00
                                100-199                 $950.00                 $19.00

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                               200-399                 $1150.00                $19.00
                               400-699                 $1550.00                $19.00
                               700+                    $1950.00                $19.00
Other Hospitals                                        $1050.00                $19.00

Home Care                      -                       $560.00                 $-
Ambulatory Surgical Ctrs.      -                       $900.00                 $85.00
Hospice (Free Standing)        -                       $450.00                 $-
Abortion Clinics               -                       $750.00$850.00          $-
Cardiac Rehab. Centers         -                       $425.00                 $-

Nursing Home & L&C
       Nursing Homes                                   $470.00                 $19.00
       All Others                                      $-                      $19.00

Mental Health Facilities
Nonresidential                                       $265.00          $-
Non ICF/IID                    6 or fewer            $350.00          $-
ICF/IID only                   6 or fewer            $900.00          $-
Non ICF/IID                    More than 6           $525.00          $19.00
ICF/IID only                   More than 6           $850.00          $19.00."
           SECTION 2.4. No later than October 1, 2023, the Department of Health and Human
Services shall adopt the rules necessary to administer this Part.
           SECTION 2.5. Section 2.4 of this Part becomes effective July 1, 2023. The
remainder of this Part becomes effective on October 1, 2023.

PART III. BORN-ALIVE ABORTION SURVIVORS PROTECTION
            SECTION 3.(a) Chapter 90 of the General Statutes is amended by adding a new
Article to read:
                                            "Article 1M.
                         "Born-Alive Abortion Survivors Protection Act.
"§ 90-21.140. Definitions.
    As used in this Article, the following definitions apply:
            (1)    Abortion. – As defined in G.S. 90-21.81.
            (2)    Attempt to perform an abortion. – As defined in G.S. 90-21.81.
            (3)    Born alive. – With respect to a member of the species Homo sapiens, this term
                   means the complete expulsion or extraction from his or her mother of that
                   member, at any stage of development, who after such expulsion or extraction
                   breathes or has a beating heart, pulsation of the umbilical cord, or definite
                   movement of voluntary muscles, regardless of whether the umbilical cord has
                   been cut, and regardless of whether the expulsion or extraction occurs as a
                   result of natural or induced labor, cesarean section, or induced abortion.
"§ 90-21.141. Findings.
    The General Assembly makes the following findings:
            (1)    If an abortion results in the live birth of an infant, the infant is a legal person
                   for all purposes under the laws of North Carolina and entitled to all the
                   protections of such laws.
            (2)    Any infant born alive after an abortion or within a hospital, clinic, or other
                   facility has the same claim to the protection of the law that would arise for any
                   newborn, or for any person who comes to a hospital, clinic, or other facility
                   for screening and treatment or otherwise becomes a patient within its care.

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"§ 90-21.142. Requirements for health care practitioners.
    In the case of an abortion or an attempt to perform an abortion that results in a child born
alive, any health care practitioner present at the time the child is born alive shall do all of the
following:
             (1)     Exercise the same degree of professional skill, care, and diligence to preserve
                     the life and health of the child as a reasonably diligent and conscientious
                     health care practitioner would render to any other child born alive at the same
                     gestational age.
             (2)     Following the exercise of skill, care, and diligence required under subdivision
                     (1) of this section, ensure that the child born alive is immediately transported
                     and admitted to a hospital.
"§ 90-21.143. Mandatory reporting of noncompliance.
    A health care practitioner or any employee of a hospital, a physician's office, or an abortion
clinic who has knowledge of a failure to comply with the requirements of G.S. 90-21.142 shall
immediately report the failure to comply to an appropriate State or federal law enforcement
agency, or both.
"§ 90-21.144. Bar to prosecution of mothers of infants born alive.
    The mother of a child born alive may not be prosecuted for a violation of, or attempt to or
conspiracy to commit a violation of, G.S. 90-21.142 or G.S. 90-21.143 involving the child who
was born alive.
"§ 90-21.145. Penalties.
    (a)      In General. – Except as provided in subsection (b) of this section, unless the conduct
is covered under some other provision of law providing greater punishment, a person who
violates G.S. 90-21.142 or G.S. 90-21.143 is guilty of a Class D felony, which shall include a
fine of not more than two hundred fifty thousand dollars ($250,000).
    (b)      Unlawful Killing of Child Born Alive. – Any person who intentionally performs or
attempts to perform an overt act that kills a child born alive shall be punished as under
G.S. 14-17(c) for murder.
"§ 90-21.146. Civil remedies; attorneys' fees.
    (a)      Civil Remedies. – If a child is born alive and there is a violation of this Article, a
claim for damages against any person who has violated a provision of this Article may be sought
by the woman upon whom an abortion was performed or attempted in violation of this Article.
A claim for damages may include any one or more of the following:
             (1)     Objectively verifiable money damage for all injuries, psychological and
                     physical, occasioned by the violation of this Article.
             (2)     Statutory damages equal to three times the cost of the abortion or attempted
                     abortion.
             (3)     Punitive damages pursuant to Chapter 1D of the General Statutes.
    (b)      Attorneys' Fees. – If judgment is rendered in favor of the plaintiff in any action
authorized under this section, the court shall also tax as part of the costs reasonable attorneys'
fees in favor of the plaintiff against the defendant. If judgment is rendered in favor of the
defendant and the court finds that the plaintiff's suit was frivolous or brought in bad faith, then
the court shall tax as part of the costs reasonable attorneys' fees in favor of the defendant against
the plaintiff."
             SECTION 3.(b) G.S. 14-17(c) reads as rewritten:
    "(c) For the purposes of this section, it shall constitute murder where a child is born alive
but (i) dies as a result of injuries inflicted prior to the child being born alive. alive or (ii) dies as
a result of an intentional, overt act performed after the child is born alive. The degree of murder
shall be determined as described in subsections (a) and (b) of this section."



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            SECTION 3.(c) Prosecutions for offenses committed before the effective date of this
section are not abated or affected by this section, and the statutes that would be applicable but
for this section remain applicable to those prosecutions.
            SECTION 3.(d) This section becomes effective July 1, 2023, and applies to offenses
committed on or after that date.

PART IV. REFORMS TO REDUCE INFANT AND MATERNAL MORTALITY AND
MORBIDITY AND INCREASE ACCESS TO CONTRACEPTIVES
            SECTION 4.1. Effective July 1, 2023, there is appropriated from the General Fund
to the Department of Health and Human Services, Division of Public Health, the sum of three
million five hundred thousand dollars ($3,500,000) in recurring funds for each year of the
2023-2025 fiscal biennium to be used to award grants on a competitive basis to local health
departments and nonprofit community health centers. Nonprofit community health centers
selected to receive these grant funds shall use the funds to purchase and make available
long-acting reversible contraceptives for underserved, uninsured, or medically indigent patients.
As used in this section, the term "long-acting reversible contraceptives" means a contraceptive
drug or device that meets all of the following criteria:
            (1)     Is a method of birth control that provides effective contraception for an
                    extended period of time without depending upon user action.
            (2)     Is designed as a temporary method of birth control that the user can elect to
                    discontinue.
            (3)     Has been approved by the United States Food and Drug Administration for
                    use as a contraceptive.
            (4)     Is obtained under a prescription written by a health care provider authorized
                    to prescribe medications under the laws of this State.
            SECTION 4.2.(a) The Department of Health and Human Services, Division of
Health Benefits (DHB), shall increase to at least seventy-one percent (71%) of the Medicare rate
the Medicaid rate paid for obstetrics maternal bundle payments for pregnancy care. This rate
increase shall be implemented as soon as practicable.
            SECTION 4.2.(b) In order to incentivize the use of group prenatal care visits by
Medicaid beneficiaries, DHB shall develop an add-on rate to the relevant capitated rates or
payments that include prenatal care services. This add-on rate shall include amounts sufficient to
make payments to providers that achieve a level of Medicaid beneficiary participation in group
prenatal care visits. DHHS shall determine the level of patient participation required for a
provider to receive these provider payments. These provider payments may be used by a provider
to establish incentives for Medicaid beneficiary patients to attend group prenatal care visits. This
rate increase shall be implemented as soon as practicable.
            SECTION 4.2.(c) Effective July 1, 2023, there is appropriated from the General
Fund to the Department of Health and Human Services, Division of Health Benefits, the sum of
two million eight hundred thousand dollars ($2,800,000) in recuring funds for each year of the
2023-2025 fiscal biennium to implement the Medicaid-related changes outlined in this section.
These funds shall provide a State match for five million five hundred thousand dollars
($5,500,000) in recurring federal funds for each year of the 2023-2025 fiscal biennium, and those
federal funds are appropriated to the Division of Health Benefits to pay for costs associated with
the Medicaid-related changes outlined in this section.
            SECTION 4.3.(a) Article 1 of Chapter 90 of the General Statutes is amended by
adding the following new section to read:
"§ 90-18.8. Limitations on nurse-midwives.
    (a)     Any Certified Nurse Midwife approved under the provisions of Article 10A of this
Chapter to provide midwifery care may use the title "Certified Nurse Midwife." Any other person


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who uses the title in any form or holds himself or herself out to be a Certified Nurse Midwife or
to be so approved shall be deemed to be in violation of this Article.
    (b)     A Certified Nurse Midwife is authorized to write prescriptions for drugs if all of the
following conditions are met:
            (1)     The Certified Nurse Midwife has current approval from the joint
                    subcommittee established under G.S. 90-178.4.
            (2)     The joint subcommittee as established under G.S. 90-178.4 has assigned an
                    identification number to the Certified Nurse Midwife that appears on the
                    written prescription.
            (3)     The joint subcommittee as established under G.S. 90-178.4 has provided to
                    the Certified Nurse Midwife written instructions about indications and
                    contraindications for prescribing drugs and a written policy for periodic
                    review of the drugs prescribed.
    (c)     The joint subcommittee of the North Carolina Medical Board and the Board of
Nursing, established under G.S. 90-178.4, shall adopt rules governing the approval of individual
Certified Nurse Midwives to write prescriptions with any limitations the joint subcommittee
deems are in the best interest of patient health and safety, consistent with the rules established
for nurse practitioners under G.S. 90-18.2(b)(1)."
            SECTION 4.3.(b) G.S. 90-178.2 reads as rewritten:
"§ 90-178.2. Definitions.
    As used in this Article:The following definitions apply in this Article:
            (1)     Certified Nurse Midwife. – A nurse licensed and registered under Article 9A
                    of this Chapter who has completed a midwifery education program accredited
                    by the Accreditation Commission for Midwifery Education, or its successor,
                    passed a national certification examination administered by the American
                    Midwifery Certification Board, or its successor, and has received the
                    professional designation of ''Certified Nurse Midwife'' (CNM). Certified
                    Nurse Midwives practice in accordance with the Core Competencies for Basic
                    Midwifery Practice, the Standards for the Practice of Midwifery, the
                    Philosophy of the American College of Nurse-Midwives (ACNM), and the
                    Code of Ethics promulgated by the ACNM.
            (1a) Collaborating provider. – A physician licensed to practice medicine under
                    Article 1 of this Chapter for a minimum of four years and has a minimum of
                    8,000 hours of practice and who is or has engaged in the practice of obstetrics
                    or a Certified Nurse Midwife who has been approved to practice midwifery
                    under this Article for a minimum of four years and 8,000 hours.
            (1b) Collaborative provider agreement. – A formal, written agreement between a
                    collaborating provider and a Certified Nurse Midwife with less than 24
                    months and 4,000 hours of practice as a Certified Nurse Midwife to provide
                    consultation and collaborative assistance or guidance.
            (2)(1c) "Interconceptional care" includes includes, but is not limited to:to, the
                    following:
                    a.       Family planning;Gynecologic care, including family planning,
                             perimenopause, and postmenopause care.
                    b.       Screening for cancer of the breast and reproductive tract;tract.
                    c.       Screening for and management of minor infections of the reproductive
                             organs;organs.
            (3)(2) "Intrapartum care" includes but Intrapartum care. – Care that focuses on the
                    facilitation of the physiologic birth process and includes, but is not limited
                    to:to, the following:


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                    a.      Attending women in uncomplicated labor;Confirmation and
                            assessment of labor and its progress.
                    b.      Assisting with spontaneous delivery of infants in vertex presentation
                            from 37 to 42 weeks gestation;Identification of normal and deviations
                            from normal and appropriate interventions, including management of
                            complications, abnormal intrapartum events, and emergencies.
                    b1.     Management of spontaneous vaginal birth and appropriate third-stage
                            management, including the use of uterotonics.
                    c.      Performing amniotomy;amniotomy.
                    d.      Administering local anesthesia;anesthesia.
                    e.      Performing episiotomy and repair; andrepair.
                    f.      Repairing lacerations associated with childbirth.
           (4)(3)   "Midwifery" means the Midwifery. – The act of providing prenatal,
                    intrapartum, postpartum, newborn and interconceptional care. The term does
                    not include the practice of medicine by a physician licensed to practice
                    medicine when engaged in the practice of medicine as defined by law, the
                    performance of medical acts by a physician assistant or nurse practitioner
                    when performed in accordance with the rules of the North Carolina Medical
                    Board, the practice of nursing by a registered nurse engaged in the practice of
                    nursing as defined by law, or the rendering of childbirth assistance in an
                    emergency situation.law, or the performance of abortion, as defined in
                    G.S. 90-21.81.
           (5)(4)   "Newborn care" includes Newborn care. – Care that focuses on the newborn
                    and includes, but is not limited to:to, the following:
                    a.      Routine assistance to the newborn to establish respiration and maintain
                            thermal stability;stability.
                    b.      Routine physical assessment including APGAR scoring;scoring.
                    c.      Vitamin K administration; andadministration.
                    d.      Eye prophylaxis for opthalmia neonatorum.
                    e.      Methods to facilitate newborn adaptation to extrauterine life, including
                            stabilization, resuscitation, and emergency management as indicated.
           (6)(5)   "Postpartum care"includes Postpartum care. – Care that focuses on
                    management strategies and therapeutics to facilitate a healthy puerperium and
                    includes, but is not limited to:to, the following:
                    a.      Management of the normal third stage of labor;labor.
                    b.      Administration of pitocin and methergine uterotonics after delivery of
                            the infant when indicated; andindicated.
                    c.      Six weeks postpartum evaluation exam and initiation of family
                            planning.
                    d.      Management of deviations from normal and appropriate interventions,
                            including management of complications and emergencies.
           (7)(6)   "Prenatal care" includes Prenatal care. – Care that focuses on promotion of
                    normal pregnancy using management strategies and therapeutics as indicated
                    and includes, but is not limited to:to, the following:
                    a.      Historical and physical assessment;Obtaining history with ongoing
                            physical assessment of mother and fetus.
                    b.      Obtaining and assessing the results of routine laboratory tests;
                            andtests.
                    b1.     Confirmation and dating of pregnancy.



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                   c.       Supervising the use of prescription and nonprescription medications,
                            such as prenatal vitamins, folic acid, iron, and nonprescription
                            medicines.and iron."
            SECTION 4.3.(c) G.S. 90-178.3 reads as rewritten:
"§ 90-178.3. Regulation of midwifery.
    (a)     No person shall practice or offer to practice or hold oneself out to practice midwifery
unless approved pursuant to under this Article.
    (b)     A person Certified Nurse Midwife approved pursuant to under this Article may
practice midwifery in a hospital or non-hospital setting and setting. The Certified Nurse Midwife
shall practice under the supervision of a physician licensed to practice medicine who is actively
engaged in the practice of obstetrics. consult, collaborate with, or refer to other providers licensed
under this Article, if indicated by the health status of the patient. A registered nurse Certified
Nurse Midwife approved pursuant to under this Article is authorized to write prescriptions for
drugs in accordance with the same conditions applicable to a nurse practitioner under
G.S. 90-18.2(b).G.S. 90-18.8(b).
    (b1) A Certified Nurse Midwife with less than 24 months and 4,000 hours of practice as a
Certified Nurse Midwife shall (i) have a collaborative provider agreement with a collaborating
provider and (ii) maintain signed and dated copies of the collaborative provider agreement as
required by practice guidelines and any rules adopted by the joint subcommittee of the North
Carolina Medical Board and the Board of Nursing. If a collaborative provider agreement is
terminated before the Certified Nurse Midwife acquires the level of experience required for
practice without a collaborative provider agreement under this Article, the Certified Nurse
Midwife shall have 90 days from the date the agreement is terminated to enter into a collaborative
provider agreement with a new collaborating provider. During the 90-day period, the Certified
Nurse Midwife may continue to practice midwifery as defined under this Article.
    (c)     Graduate nurse midwife applicant status may be granted by the joint subcommittee in
accordance with G.S. 90-178.4."
            SECTION 4.3.(d) G.S. 90-178.4 is amended by adding the following new
subsections to read:
    "(a1) Any Certified Nurse Midwife who attends a planned birth outside of a hospital setting
shall discuss with the patient the associated risks and obtain a signed informed consent agreement
from the Certified Nurse Midwife's patient that shall include:
            (1)     Information about the risks associated with a planned birth outside of the
                    hospital.
            (2)     A clear assumption of those risks by the patient.
            (3)     An agreement by the patient to consent to transfer to a health care facility
                    when and if deemed necessary by the Certified Nurse Midwife.
            (4)     If the Certified Nurse Midwife is not covered under a policy of liability
                    insurance, a clear disclosure to that effect.
            (5)     The joint subcommittee shall develop the contents of an informed consent
                    agreement form to be used by a Certified Nurse Midwife when obtaining
                    informed consent.
    (a2) Any Certified Nurse Midwife who attends a planned birth outside of a hospital setting
shall provide to each patient a detailed, written plan for emergent and nonemergent transfer,
which shall include:
            (1)     The name of and distance to the nearest health care facility licensed under
                    Chapter 122C or Chapter 131E of the General Statutes that has at least one
                    operating room.
            (2)     The procedures for transfer, including modes of transportation and methods
                    for notifying the relevant health care facility of impending transfer.


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           (3)       An affirmation that the relevant health care facility has been notified of the
                     plan for emergent and nonemergent transfer by the Certified Nurse Midwife.
    (a3) Planned home births attended by a Certified Nurse Midwife shall be limited to
low-risk pregnancies. Pregnancies deemed inadvisable for home births by the American College
of Obstetricians and Gynecologists Committee on Obstetric Practice shall be prohibited. The
joint subcommittee of the North Carolina Medical Board and the Board of Nursing created under
G.S. 90-18.2 shall adopt rules governing the safety of home births attended by a Certified Nurse
Midwife."
            SECTION 4.3.(e) G.S. 90-178.4(b) reads as rewritten:
    "(b) The joint subcommittee shall adopt rules pursuant to under this Article to
establish:establish each of the following:
            (1)      A fee which shall cover application and initial approval up to a maximum of
                     one hundred dollars ($100.00);($100.00).
            (2)      An annual renewal fee to be paid by January 1 of each year by persons
                     approved pursuant to under this Article up to a maximum of fifty dollars
                     ($50.00);($50.00).
            (3)      A reinstatement fee for a lapsed approval up to a maximum of five dollars
                     ($5.00);($5.00).
            (4)      The form and contents of the applications which shall include information
                     related to the applicant's education and certification by the American College
                     of Nurse-Midwives; andAmerican Midwifery Certification Board.
            (5)      The procedure for establishing physician supervision collaborative provider
                     agreements as required by this Article."
            SECTION 4.3.(f) G.S. 90-178.5 reads as rewritten:
"§ 90-178.5. Qualifications for approval.approval; independent practice.
    (a)     In order to be approved by the joint subcommittee pursuant to under this Article, a
person shall:shall comply with each of the following:
            (1)      Complete an application on a form furnished by the joint
                     subcommittee;subcommittee.
            (2)      Submit evidence of certification by the American College of
                     Nurse-Midwives;American Midwifery Certification Board or its successor.
            (3)      Submit evidence of arrangements for physician supervision; anda
                     collaborative provider agreement as required by G.S. 90-178.3(b1).
            (4)      Pay the fee for application and approval.
    (b)     Upon submitting to the joint subcommittee evidence of completing 24 months and
4,000 hours of practice as a Certified Nurse Midwife pursuant to a collaborative provider
agreement, a Certified Nurse Midwife is authorized to practice midwifery independently in
accordance with this Article."
            SECTION 4.3.(g) G.S. 90-178.7 reads as rewritten:
"§ 90-178.7. Enforcement.
    (a)     The joint subcommittee may apply to the Superior Court of Wake County to restrain
any violation of this Article.
    (b)     Any person who violates G.S. 90-178.3(a) shall be guilty of a Class 3
misdemeanor.No person shall perform any act constituting the practice of midwifery, as defined
in this Article, or any of the branches thereof, unless the person shall have been first approved
under this Article. Any person who practices midwifery without being duly approved and
registered, as provided in this Article, shall not be allowed to maintain any action to collect any
fee for such services. Any person so practicing without being duly approved shall be guilty of a
Class 3 misdemeanor. Any person so practicing without being duly approved under this Article
and who is falsely representing himself or herself in a manner as being approved under this
Article or any Article of this Chapter shall be guilty of a Class I felony."

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            SECTION 4.3.(h) Article 10A of Chapter 90 of the General Statutes is amended by
adding the following new section to read:
"§ 90-178.8. Limit vicarious liability.
    (a)     No physician or physician assistant, including the physician assistant's employing or
supervising physician, licensed under Article 1 of this Chapter or nurse licensed under Article
9A of this Chapter shall be held liable for any civil damages as a result of the medical care or
treatment provided by the physician, physician assistant, or nurse when both of the following
occur:
            (1)     The physician, physician assistant, or nurse is providing medical care or
                    treatment to a woman or infant in an emergency situation.
            (2)     The emergency situation arises during the delivery or birth of the infant as a
                    consequence of the care provided by a Certified Nurse Midwife approved
                    under this Article who attends a planned birth outside of a hospital setting.
    (b)     No health care facility licensed under Chapter 122C or Chapter 131E of the General
Statutes shall be held liable for civil damages as a result of the medical care or treatment provided
by the facility when both of the following occur:
            (1)     The facility is providing medical care or treatment to a woman or infant in an
                    emergency situation.
            (2)     The emergency situation arises during the delivery or birth of the infant as a
                    consequence of the care provided by a Certified Nurse Midwife approved
                    under this Article who attends a planned birth outside of a hospital setting.
    (b1) Notwithstanding the provisions of subsections (a) and (b) of this section, health care
providers and health care facilities shall remain liable for their own independent acts of
negligence.
    (c)     Nothing in this section shall be construed to limit liability when the civil damages to
this section are the result of gross negligence or willful or wanton misconduct."
            SECTION 4.3.(i) This section becomes effective October 1, 2023.
            SECTION 4.4.(a) There is appropriated from the General Fund to the Department
of Health and Human Services, Division of Public Health, the sum of two hundred fifty thousand
dollars ($250,000) in nonrecurring funds for the 2023-2024 fiscal year and the sum of two
hundred fifty thousand dollars ($250,000) in nonrecurring funds for the 2024-2025 fiscal year to
fund expansion of the Safe Sleep North Carolina Campaign administered by the University of
North Carolina Collaborative for Maternal and Infant Health, with the goal of strengthening the
adoption of infant safe sleep practices across the State that reduce the risk of Sudden Infant Death
Syndrome (SIDS) and other infant sleep-related deaths.
            SECTION 4.4.(b) This section becomes effective July 1, 2023.

PART V. PAID PARENTAL LEAVE FOR STATE EMPLOYEES
            SECTION 5.1.(a) Article 2 of Chapter 126 of the General Statutes is amended by
adding a new section to read:
"§ 126-8.6. Paid parental leave.
    (a)     Definitions. – The following definitions apply in this section:
            (1)     Child. – A newborn biological child or a newly placed adopted, foster, or
                    otherwise legally placed child under the age of 18 whose parent is a State
                    employee eligible for leave under subsection (b) of this section.
            (2)     Parent. – Includes a parent by adoption, foster care, or another legal
                    placement.
            (3)     Qualifying event. – When a State employee becomes a parent to a child.
    (b)     Paid Parental Leave. – The State Human Resources Commission shall adopt rules and
policies to provide that a permanent, full-time State employee may take the following paid
parental leave:

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            (1)     Up to eight weeks of paid leave after giving birth to a child; or
            (2)     Up to four weeks of paid leave after any other qualifying event.
    (c)     Part-Time Employees. – The State Human Resources Commission shall adopt rules
and policies to provide that a permanent, part-time State employee may take a prorated amount
of paid leave after giving birth, not to exceed four weeks, or paid leave after any other qualifying
event, not to exceed two weeks, in addition to any other leave available to the employee.
    (d)     Requirements. – The paid parental leave authorized by this section:
            (1)     Is available without exhaustion of the employee's sick and vacation leave and
                    is awarded in addition to shared leave under G.S. 126-8.3, or other leave
                    authorized by State or federal law.
            (2)     Has no cash value upon termination from employment.
            (3)     May not be used for calculating an employee's retirement benefits.
    (e)     The provisions of this section shall apply to employees of State agencies,
departments, and institutions, including The University of North Carolina; to public school
employees; and to community college employees. The appropriate governing board, officer, or
entity shall adopt rules and policies to award paid parental leave to employees that are
substantially equivalent to those adopted by the State Human Resources Commission."
            SECTION 5.1.(b) G.S. 126-5 is amended by adding a new subsection to read:
    "(c19) The provisions of G.S. 126-8.6 shall apply to all exempt and nonexempt State
employees in the executive branch; to public school employees; and to community college
employees. The legislative and judicial branches shall adopt parental leave policies."
            SECTION 5.1.(c) G.S. 115C-302.1(j) reads as rewritten:
    "(j)    Parental Leave. – A In addition to paid parental leave authorized by G.S. 126-8.6, a
teacher may use annual leave, personal leave, or leave without pay to care for a newborn child
or for a child placed with the teacher for adoption or foster care. A teacher may also use up to 30
days of sick leave to care for a child placed with the teacher for adoption. The leave may be for
consecutive workdays during the first 12 months after the date of birth or placement of the child,
unless the teacher and local board of education agree otherwise."
            SECTION 5.1.(d) G.S. 115C-336.1 reads as rewritten:
"§ 115C-336.1. Parental leave.
    A In addition to paid parental leave authorized by G.S. 126-8.6, a school employee may use
annual leave or leave without pay to care for a newborn child or for a child placed with the
employee for adoption or foster care. A school employee may also use up to 30 days of sick leave
to care for a child placed with the employee for adoption. The leave may be for consecutive
workdays during the first 12 months after the date of birth or placement of the child, unless the
school employee and the local board of education agree otherwise."
            SECTION 5.1.(e) There is appropriated from the General Fund to the Department
of Public Instruction the sum of ten million dollars ($10,000,000) in recurring funds for the
2023-2024 fiscal year and the sum of ten million dollars ($10,000,000) in recurring funds for the
2024-2025 fiscal year to fund paid parental leave authorized by this section.
            SECTION 5.1.(f) This Part becomes effective July 1, 2023, and applies to requests
for paid parental leave related to births occurring on or after that date.

PART VI. CHILD PERMANENCY, SAFE SURRENDER OF INFANTS, FOSTER
CARE, ADOPTION, AND SUPPORT FOR NEW MOTHERS
            SECTION 6.1. There is appropriated from the General Fund the sum of seven
hundred thousand dollars ($700,000) in recurring funds for each year of the 2023-2025 fiscal
biennium to the Department of Health and Human Services to be allocated to the State Maternity
Home Fund.
            SECTION 6.2.(a) Chapter 7B of the General Statutes is amended by adding a new
Article to read:

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                                           "Article 5A.
                                    "Safe Surrender of Infants.
"§ 7B-520. Purpose; limitations.
    (a)     Purpose. – The purpose of this Article is to protect newborn infants by providing a
safe alternative for a parent who, in a crisis or in desperation, may physically abandon or harm
his or her newborn and to provide information for the parent regarding the parent's rights and
alternatives.
    (b)     Limitations. – The provisions of this Article apply exclusively to safely surrendered
infants as defined in G.S. 7B-101(19a). No person or agency shall act under the provisions of
this Article if it is determined that any of the following are true:
            (1)       A surrendered infant is reasonably believed to be more than 30 days old.
            (2)       The infant shows signs of abuse or neglect.
            (3)       There is reason to believe the individual surrendering the infant was not the
                      infant's parent.
            (4)       At the time the infant was surrendered, there was reason to believe the parent
                      intended to return for the infant.
"§ 7B-521. Persons to whom infant may be surrendered.
    The following individuals shall, without a court order, take into temporary custody an infant
reasonably believed to be not more than 30 days of age that is voluntarily delivered to the
individual by the infant's parent who does not express an intent to return for the infant:
            (1)       A health care provider, as defined under G.S. 90-21.11, who is on duty or at a
                      hospital or at a local or district health department or at a nonprofit community
                      health center.
            (2)       A first responder, including a law enforcement officer, a certified emergency
                      medical services worker, or a firefighter.
            (3)       A social services worker who is on duty or at a local department of social
                      services.
"§ 7B-522. Duties of person taking safely surrendered infant into temporary custody.
    An individual who takes an infant into temporary custody under G.S. 7B-521 shall perform
any act necessary to protect the physical health and well-being of the infant and immediately
notify the department of social services in the county where the infant is surrendered. The
individual may inquire as to the parents' identities, the date of birth of the infant, any relevant
medical history, and the parents' marital status and may advise the parent that if the parent
provides that information, it may facilitate the adoption of the child. However, the individual
shall notify the parent that the parent is not required to provide the information. The individual,
if practical, shall provide the surrendering parent with written information created by the
Department of Health and Human Services, Division of Social Services, as set forth in
G.S. 7B-528.
"§ 7B-523. Immunity for those receiving infant.
    An individual to whom an infant was surrendered under G.S. 7B-521 is immune from any
civil or criminal liability that might otherwise be incurred or imposed as a result of any omission
or action taken pursuant to the requirements of this Article as long as that individual was acting
in good faith. The immunity established by this section does not extend to gross negligence,
wanton conduct, or intentional wrongdoing that would otherwise be actionable.
"§ 7B-524. Confidentiality of information and records.
    (a)     Except as otherwise provided in subsection (b) of this section, unless a parent
consents to its release, an individual who takes an infant into temporary custody under this Article
and any facility involved in the care of the infant at the time the infant is taken into temporary
custody shall keep information regarding the surrendering parent's identity confidential.



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    (b)      An individual taking an infant into temporary custody under this Article shall provide
to the director of the department of social services any information known about the infant, the
infant's parents, including their identity, any medical history, and the circumstances of surrender.
    (c)      All information about the surrendering parent's identity that is received or obtained
by the department of social services shall not be disclosed except for (i) notice to local law
enforcement pursuant to G.S. 7B-525(b)(3), (ii) contact with the non-surrendering parent, or (iii)
as otherwise ordered by a court of this State.
    (d)      All information received by the department of social services related to the
circumstances of the infant's safe surrender and the infant's condition shall be held in strictest
confidence and shall not be disclosed except as provided in this section.
             (1)     The director may consult with and share information that the director
                     determines is necessary or relevant to the case with (i) a health care provider
                     that provided medical treatment to the safely surrendered infant before, at the
                     time of, or after the safe surrender, (ii) a placement provider, including a foster
                     care placement or pre-adoptive placement, for the infant, (iii) a court
                     exercising jurisdiction over an adoption proceeding for the infant, and (iv) any
                     agency that a court in an adoption proceeding requires to conduct a
                     preplacement assessment, report to the court, or equivalent.
             (2)     A guardian ad litem appointed in a termination of parental rights proceeding
                     resulting from the infant's safe surrender may examine and obtain written
                     copies of the record.
             (3)     A district or superior court judge of this State presiding over a civil, criminal,
                     or delinquency matter in which the department of social services is not a party
                     may order the department to release confidential information after providing
                     the department with reasonable notice and an opportunity to be heard and then
                     determining that the information is relevant and necessary to the trial of the
                     matter before the court and unavailable from any other source. The department
                     of social services shall surrender the requested records to the court, which
                     shall conduct an in-camera review prior to releasing the confidential records.
    (e)      This section shall not apply if the department determines the juvenile is not a safely
surrendered infant or is the victim of a crime.
"§ 7B-525. Social services response.
    (a)      A director of a department of social services who receives a safely surrendered infant
pursuant to this Article has, by virtue of the surrender, the surrendering parent's rights to legal
and physical custody of the infant without obtaining a court order. A county department of social
services to whom an infant has been safely surrendered may, after the notice by publication set
forth in G.S. 7B-526 has been completed, apply ex parte to the district court for an order finding
that the infant has been safely surrendered and confirming that the county department of social
services has legal custody of the minor for the purposes of obtaining a certified copy of the child's
birth certificate, a social security number, or federal and State benefits for the minor.
    (b)      The director of social services receiving the infant shall do the following in an
expeditious manner:
             (1)     Ascertain from a health care provider that the surrendered infant is, to a
                     reasonable medical certainty, not more than 30 days old and without signs of
                     abuse or neglect. If both conditions are not satisfied, the provisions of the
                     Article do not apply and the director shall treat the infant as a juvenile who
                     has been reported to be an abused, neglected, or dependent juvenile.
             (2)     Make an inquiry of the person who received the infant as a safe surrender
                     whether the surrendering parent was provided with information in accordance
                     with G.S. 7B-526 and document the response.


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           (3)      Notify law enforcement of the safely surrendered infant and provide law
                    enforcement with information necessary to investigate through the North
                    Carolina Center for Missing Persons and other national and State resources
                    whether the infant is a missing child.
            (4)     Contact the non-surrendering parent when their identity is known to inform
                    the non-surrendering parent that the infant was surrendered.
            (5)     Respond to any inquiry by a non-surrendering parent about whether their child
                    was safely surrendered.
            (6)     When a surrendering or non-surrendering parent seeks custody of the infant,
                    arrange for genetic marker testing of that parent and the infant if there is
                    uncertainty as to parentage.
            (7)     After 60 days from the date of surrender, if the surrendering parent has not
                    sought to regain custody of the infant and the infant is not placed with the
                    non-surrendering parent, initiate a termination of parental rights for the
                    surrendering parent under G.S. 7B-1111(a)(7).
    (c)     Where the non-surrendering parent's identity is known and the non-surrendering
parent has been contacted and located by the director of the department of social services, the
director shall place custody of the safely surrendered infant with the non-surrendering parent,
and any custodial rights of the department of social services shall terminate only if all of the
following apply:
            (1)     There exists the rebuttable presumption the non-surrendering parent is the
                    safely surrendered infant's parent through (i) the child's legitimation through
                    marriage or (ii) genetic marker testing arranged by the director to establish
                    parentage that indicates the probability of parentage is ninety-seven percent
                    (97%) or higher.
            (2)     The non-surrendering parent asserts their parental rights to their child.
            (3)     The director does not have cause to suspect the infant is an abused, neglected,
                    or dependent juvenile due to the circumstances created by the
                    non-surrendering parent.
    (d)     Where the identity of the non-surrendering parent is known by the director and the
director has cause to suspect the infant may be an abused, neglected, or dependent juvenile due
to circumstances created by the non-surrendering parent, the director shall proceed as if there
was a report of abuse, neglect, or dependency in accordance with G.S. 7B-302. The surrendering
parent shall not be part of the department assessment conducted under G.S. 7B-302. If a petition
alleging abuse, neglect, or dependency is filed with the district court pursuant to G.S. 7B-302, in
accordance with G.S. 7B-401.1(b), the surrendering parent shall not be a party unless the court
orders otherwise or a surrendering parent comes forward to regain custody of the child.
    (e)     If the surrendering parent seeks to regain custody of the infant, the provision of
G.S. 7B-527(a) shall apply.
"§ 7B-526. Notice by publication of the safely surrendered infant.
    (a)     Within 14 days from the date of the safe surrender of an infant, the director shall
provide notice by publication as specified in subsection (b) of this section that an infant has been
surrendered and taken into custody by the department of social services.
    (b)     The notice shall be published in a newspaper qualified for legal advertising in
accordance with G.S. 1-597 and G.S. 1-598 and published in the county in which the surrender
was made and in any other county that the director has reason to believe either parent may be
residing. The publication shall be once a week for three successive weeks. The notice shall state
each of the following:
            (1)     The infant was surrendered by a person claiming to be the infant's mother or
                    father who did not express an intent to return for the infant and that the infant
                    was surrendered to an individual pursuant to G.S. 7B-521 by specifying (i) the

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                    profession of the individual authorized to accept the surrendered infant, (ii)
                    the name and location of the facility at which the infant was surrendered, and
                    (iii) the date of surrender.
            (2)     The physical characteristics of the infant at the time of surrender.
            (3)     The infant is now in the physical and legal custody of the department of social
                    services in the county where the infant was surrendered.
            (4)     The surrendering mother or father has the right to request the infant's return to
                    their custody by contacting the department of social services in the county that
                    the infant was surrendered before the department initiates an action to
                    terminate their parental rights in district court. If the surrendering parent seeks
                    to regain custody of the infant from the department of social services, the
                    director shall treat the infant as a juvenile who has been reported as a neglected
                    juvenile and requires that the director conduct an assessment, at which point,
                    the surrendering parent's rights to have his or her identity be confidential no
                    longer apply.
            (5)     The department is making efforts to identify, locate, and contact the
                    non-surrendering parent. The non-surrendering parent has the right to contact
                    the department of social services to inquire about and seek custody of the
                    infant. The department may place the infant with the non-surrendering parent,
                    terminating the department's custodial rights to the infant, when that parent's
                    identity and location are known and there is no cause to suspect the infant is
                    an abused, neglected, or dependent juvenile due to circumstances created by
                    the non-surrendering parent.
            (6)     Each parent has the right to contact the department of social services in the
                    county where the infant was surrendered.
            (7)     If neither parent seeks the infant's custody from the department of social
                    services or executes a relinquishment for adoption within 60 days of the date
                    of the surrender, which shall be stated clearly on the notice, the department
                    will initiate a court action to terminate both parents' parental rights. Unless the
                    court orders otherwise, the notice of the petition to terminate parental rights
                    will be published in the same newspaper with the court name "In re Baby
                    Doe."
            (8)     How to contact the department of social services about the safely surrendered
                    infant and the parents' rights.
    (c)     If a termination of parental rights for the safely surrendered infant is commenced, an
affidavit of the publisher of the notice by this section shall be filed with the court at the
preliminary hearing required by G.S. 7B-1105.1.
"§ 7B-527. Rights of surrendering parent.
    (a)     Right to Regain Custody. – Prior to the filing of a termination of parental rights
petition under Article 11 of this Subchapter, a surrendering parent has the right to contact the
county department of social services where the infant was surrendered and request the infant's
return to his or her custody. The director shall treat any such request as a report of neglect and
comply with the provisions of G.S. 7B-302.
    (b)     Right of Relinquishment. – The safe surrender of an infant under this Article does not
preclude the surrendering parent from executing a relinquishment of their parental rights for
adoption with the local department of social services which received the safely surrendered
infant.
    (c)     Immunity. – A parent surrendering an infant pursuant to this Article is immune from
any civil liability or criminal prosecution in accordance with G.S. 14-322.3 as long as the
surrendering parent was acting in good faith. The immunity established by this section does not


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extend to gross negligence, wanton conduct, or intentional wrongdoing that would otherwise be
actionable.
"§ 7B-528. Information to surrendering parent.
    (a)     The Department of Health and Human Services, Division of Social Services, shall
create printable and downloadable information about infant safe surrender and the rights of the
parents. The information shall be written in a user-friendly manner and translated to commonly
spoken and read languages in this State. The Division shall post the information on its website
and make the information available for distribution to agencies where persons identified in
G.S. 7B-521 are on duty and to other agencies that request the information.
    (b)     The information shall explain each of the following:
            (1)     Who is a safely surrendered infant, surrendering parent, and non-surrendering
                    parent.
            (2)     The requirements for how a safe surrender of an infant may occur under this
                    Article.
            (3)     The right to have the surrendering parent's identity remain confidential with
                    the exception of communicating with the non-surrendering parent, known
                    medical providers who provided treatment to the infant prior to the safe
                    surrender, law enforcement for purposes of a missing child assessment, or a
                    court order.
            (4)     The information set forth in G.S. 7B-526(b)(3) through (b)(8).
            (5)     That the information contains a relevant medical history form for the infant
                    that would assist the department of social services in obtaining any necessary
                    medical services for the infant and in facilitating the infant's placement,
                    including adoption. Completing the form is optional.
            (6)     An explanation that services may be available to the surrendering parent and
                    infant accompanied by contact information for the local department of social
                    services.
    (c)     The Division shall create a printable and downloadable medical history form as
referred to in subsection (b) of this section, and the form must include instructions on how to
complete it and where to return it."
            SECTION 6.2.(b) G.S. 7B-101 reads as rewritten:
"§ 7B-101. Definitions.
    As used in this Subchapter, unless the context clearly requires otherwise, the following words
have the listed meanings:
            …
            (15) Neglected juvenile. – Any juvenile less than 18 years of age (i) who is found
                    to be a minor victim of human trafficking under G.S. 14-43.15 or (ii) whose
                    parent, guardian, custodian, or caretaker does any of the following:
                    a.      Does not provide proper care, supervision, or discipline.
                    b.      Has abandoned the juvenile.juvenile, except where that juvenile is a
                            safely surrendered infant as defined in this Subchapter.
                    c.      Has not provided or arranged for the provision of necessary medical
                            or remedial care.
                    d.      Or whose parent, guardian, or custodian has refused to follow the
                            recommendations of the Juvenile and Family Team made pursuant to
                            Article 27A of this Chapter.
                    e.      Creates or allows to be created a living environment that is injurious
                            to the juvenile's welfare.
                    f.      Has participated or attempted to participate in the unlawful transfer of
                            custody of the juvenile under G.S.14-321.2.
                    g.      Has placed the juvenile for care or adoption in violation of law.

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             …
             (15b) Non-surrendering parent. – A parent of a safely surrendered infant other than
                     the parent who physically surrenders the parent's infant pursuant to Article 5A
                     of this Subchapter.
             …
             (19a) Safely surrendered infant. – An infant reasonably believed to be not more than
                     30 days of age and without signs of abuse or neglect who is voluntarily
                     delivered to an individual in accordance with Article 5A of this Subchapter by
                     the infant's parent who does not express an intent to return for the infant. In
                     determining whether there are signs of neglect, the act of surrendering the
                     infant, in and of itself, does not constitute neglect.
             (19a)(19b)           Serious neglect. – Conduct, behavior, or inaction of the juvenile's
                     parent, guardian, custodian, or caretaker that evidences a disregard of
                     consequences of such magnitude that the conduct, behavior, or inaction
                     constitutes an unequivocal danger to the juvenile's health, welfare, or safety,
                     but does not constitute abuse.
             …
             (21a) Surrendering parent. – A parent who physically surrenders the parent's infant
                     pursuant to Article 5A of this Subchapter.
             …."
             SECTION 6.2.(c) G.S. 7B-401.1(b) reads as rewritten:
     "(b) Parents. – The juvenile's parent shall be a party unless one of the following applies:
             …
             (2)     The parent has relinquished the juvenile for adoption, or safely surrendered
                     the infant and has not sought the return of the infant prior to the filing of a
                     termination of parental rights, unless the court orders that the parent be made
                     a party.
             …."
             SECTION 6.2.(d) G.S. 7B-500 reads as rewritten:
"§ 7B-500. Taking a juvenile into temporary custody; civil and criminal immunity.
     (a)     Temporary custody means the taking of physical custody and providing personal care
and supervision until a court order for nonsecure custody can be obtained. A juvenile may be
taken into temporary custody without a court order by a law enforcement officer or a department
of social services worker if there are reasonable grounds to believe that the juvenile is abused,
neglected, or dependent and that the juvenile would be injured or could not be taken into custody
if it were first necessary to obtain a court order. If a department of social services worker takes a
juvenile into temporary custody under this section, the worker may arrange for the placement,
care, supervision, and transportation of the juvenile.
     (b)     The following individuals shall, without a court order, take into temporary custody
an infant under seven days of age that is voluntarily delivered to the individual by the infant's
parent who does not express an intent to return for the infant:The process for taking into
temporary custody a safely surrendered infant is as provided under Article 5A of this Subchapter.
             (1)     A health care provider, as defined under G.S. 90-21.11, who is on duty or at a
                     hospital or at a local or district health department or at a nonprofit community
                     health center.
             (2)     A law enforcement officer who is on duty or at a police station or sheriff's
                     department.
             (3)     A social services worker who is on duty or at a local department of social
                     services.
             (4)     A certified emergency medical service worker who is on duty or at a fire or
                     emergency medical services station.

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    (c)      An individual who takes an infant into temporary custody under subsection (b) of this
section shall perform any act necessary to protect the physical health and well-being of the infant
and shall immediately notify the department of social services or a local law enforcement agency.
Any individual who takes an infant into temporary custody under subsection (b) of this section
may inquire as to the parents' identities and as to any relevant medical history, but the parent is
not required to provide the information. The individual shall notify the parent that the parent is
not required to provide the information.
    (d)      Any adult may, without a court order, take into temporary custody an infant under
seven days of age that is voluntarily delivered to the individual by the infant's parent who does
not express an intent to return for the infant. Any individual who takes an infant into temporary
custody under this section shall perform any act necessary to protect the physical health and
well-being of the infant and shall immediately notify the department of social services or a local
law enforcement agency. An individual who takes an infant into temporary custody under this
subsection may inquire as to the parents' identities and as to any relevant medical history, but the
parent is not required to provide the information. The individual shall notify the parent that the
parent is not required to provide the information.
    (e)      An individual described in subsection (b) or (d) of this section is immune from any
civil or criminal liability that might otherwise be incurred or imposed as a result of any omission
or action taken pursuant to the requirements of subsection (c) or (d) of this section as long as that
individual was acting in good faith. The immunity established by this subsection does not extend
to gross negligence, wanton conduct, or intentional wrongdoing that would otherwise be
actionable."
             SECTION 6.2.(e) G.S. 7B-501(a) reads as rewritten:
    "(a) A person who takes a juvenile into custody without a court order under G.S. 7B-500
shall proceed as follows:follows, except that the person shall proceed in accordance with
G.S. 7B-522 for a safely surrendered infant:
             …."
             SECTION 6.2.(f) Article 11 of Chapter 7B of the General Statutes is amended by
adding a new section to read:
"§ 7B-1105.1. Preliminary hearing; safely surrendered infant.
    (a)      Within 10 days from the date of filing of a petition to terminate the parental rights of
a surrendering or non-surrendering parent of a safely surrendered infant, or during the next term
of court in the county where the petition is filed if there is no court in the county in that 10-day
period, the court shall conduct a preliminary hearing to address the infant's safe surrender. The
preliminary hearing shall be recorded and shall be closed unless the surrendering parent appears
and requests that it be open. The purpose of the hearing shall be to ascertain the circumstances
of the safe surrender in order to determine any efforts that should be made to ascertain the identity
and location of either parent and to establish appropriate notice regarding termination of parental
rights proceedings.
    (b)      The court shall inquire of the director of the department of social services as to all of
the following:
             (1)     The circumstances of the safe surrender.
             (2)     Whether, at the time of surrender, the surrendering parent was provided the
                     information pursuant to G.S. 7B-528.
             (3)     Whether notice of a safe surrender was made by publication as required by
                     G.S. 7B-526. An affidavit of the publisher of that notice shall be filed with the
                     court at this preliminary hearing.
             (4)     Whether either parent has made any efforts to contact the department of social
                     services and the nature of those contacts.
             (5)     Whether the identities or locations of either parent are known to the director
                     of the department of social services.

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    (c)     The court shall determine whether any diligent efforts are required to identify or
locate the surrendering parent considering the need to protect the confidentiality of that parent's
identity and the parent's due process rights. The court may specify the type of diligent efforts the
department of social services is required to take. The court shall determine whether the
surrendering parent shall be served pursuant to Rule 4 of the Rules of Civil Procedure and, if so,
may specify the type of service that must be provided in lieu of Rule 4 whether the parent shall
be served by publication in accordance with subsection (e) of this section.
    (d)     When the identity of the non-surrendering parent is known, the court shall order
service pursuant to Rule 4 of the Rules of Civil Procedure. When the non-surrendering parent's
identity is not known, service shall be by publication in accordance with subsection (e) of this
section.
    (e)     The court shall specifically order the place or places of publication and the contents
of the notice that the court concludes is most likely to identify the juvenile to either of the
juvenile's parents without including the name of the surrendering parent. The notice shall be
published in a newspaper qualified for legal advertising in accordance with G.S. 1-597 and
G.S. 1-598 and published in the counties directed by the court, including in the county where the
local department of social services that received the safely surrendered infant is located and
where the parent is residing, if known, once a week for three successive weeks. The notice shall
do each of the following:
            (1)    Designate the court in which the petition is pending.
            (2)    Be directed to "the mother (father) (mother and father) of a male (female)
                   juvenile born on or about__________________________ and if known in
                                                 (date)
                       ___________(hospital or health care facility where the infant was born.)
                       __________(County),
                       __________(City),
                       _____________________________________, respondent."
                       (State)
            (3)    Designate the docket number and title of the case which shall be "In re Baby
                   Doe."
            (4)    State that the infant was surrendered by a person claiming to be the infant's
                   mother or father who did not express an intent to return for the infant and that
                   the infant was surrendered to an individual pursuant to G.S. 7B-521 by
                   specifying (i) the profession of the person authorized to accept the surrendered
                   infant, (ii) the facility at which the infant was surrendered, and (iii) the date of
                   surrender.
            (5)    State the physical characteristics of the infant at the time of the surrender.
            (6)    State that a petition seeking to terminate the parental rights of the respondent
                   has been filed and the purpose of the termination hearing.
            (7)    Notice that if the parent is indigent, the parent is entitled to appointed counsel
                   and may contact the clerk immediately to request counsel.
            (8)    State the date and time of the pretrial hearing pursuant to G.S. 7B-1108.1 and
                   notice that the parent may attend the hearing.
            (9)    Direct the respondent to file with the clerk a written answer to the petition
                   within 30 days after a date stated in the notice, exclusive of such date, which
                   date so stated shall be the date of first publication of notice and be substantially
                   in the form as set forth in G.S. 1A-1, Rule 4(j1).
            (10) State that if the parent fails to answer the petition within the time prescribed
                   and the court determines the ground for termination has been proved and that
                   termination of that parent's rights is in the best interests of the juvenile, the
                   respondent's parental rights to the juvenile will be terminated.

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     Upon completion of the service by publication, an affidavit of the publisher shall be filed
with the court.
     (f)     The court shall issue the order required by this section within 30 days from the date
of the preliminary hearing unless the court shall determine that additional time for investigation
is required.
     (g)     No summons is required for a parent who is served by publication."
             SECTION 6.2.(g) G.S. 7B-1111(a) reads as rewritten:
     "(a) The court may terminate the parental rights upon a finding of one or more of the
following:
             …
             (7)     The parent has willfully abandoned the juvenile for at least six consecutive
                     months immediately preceding the filing of the petition or motion, or the
                     parent has voluntarily abandoned an infant as a safely surrendered infant
                     pursuant to G.S. 7B-500 Article 5A of this Subchapter for at least 60
                     consecutive days immediately preceding the filing of the petition or motion.
             …
             (9)     The parental rights of the parent with respect to another child of the parent
                     have been terminated involuntarily by a court of competent jurisdiction and
                     the parent lacks the ability or willingness to establish a safe home. This ground
                     shall not apply to a parent whose parental rights were terminated as a result of
                     the other child being a safely surrendered infant.
             …."
             SECTION 6.2.(h) G.S. 115C-47(52) reads as rewritten:
"§ 115C-47. Powers and duties generally.
     In addition to the powers and duties designated in G.S. 115C-36, local boards of education
shall have the power or duty:
             …
             (52) To Ensure That Certain Students Receive Information Annually on Lawfully
                     Abandoning a Newborn Baby. – Not later than August 1, 2008, local boards
                     of education shall adopt policies to ensure that students in grades nine through
                     12 receive information annually on the manner in which a parent may lawfully
                     abandon a newborn baby with a responsible person, in accordance with
                     G.S. 7B-500.Article 5A of Chapter 7B of the General Statutes."
             SECTION 6.2.(i) G.S. 115C-218.75(a) reads as rewritten:
     "(a) Health and Safety Standards. – A charter school shall meet the same health and safety
requirements required of a local school administrative unit. The Department of Public Instruction
shall ensure that charter schools provide parents and guardians with information about
meningococcal meningitis and influenza and their vaccines at the beginning of every school year.
This information shall include the causes, symptoms, and how meningococcal meningitis and
influenza are spread and the places where parents and guardians may obtain additional
information and vaccinations for their children.
     …
     The Department of Public Instruction shall also ensure that charter schools provide students
in grades nine through 12 with information annually on the manner in which a parent may
lawfully abandon a newborn baby with a responsible person, in accordance with
G.S. 7B-500.Article 5A of Chapter 7B of the General Statutes.
     …."
             SECTION 6.2.(j) G.S. 115C-548 reads as rewritten:
"§ 115C-548. Attendance; health and safety regulations.
     …


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    The Division of Nonpublic Education, Department of Administration, shall also ensure that
information is available to these schools so that they can provide information on the manner in
which a parent may lawfully abandon a newborn baby with a responsible person, in accordance
with G.S. 7B-500.Article 5A of Chapter 7B of the General Statutes."
            SECTION 6.2.(k) G.S. 115C-556 reads as rewritten:
"§ 115C-556. Attendance; health and safety regulations.
    …
    The Division of Nonpublic Education, Department of Administration, shall also ensure that
information is available to each qualified nonpublic school so that the school can provide
information on the manner in which a parent may lawfully abandon a newborn baby with a
responsible person, in accordance with G.S. 7B-500.Article 5A of Chapter 7B of the General
Statutes."
            SECTION 6.2.(l) G.S. 115C-565 reads as rewritten:
"§ 115C-565. Requirements exclusive.
    …
    The Division of Nonpublic Education, Department of Administration, shall also provide to
home schools information on the manner in which a parent may lawfully abandon a newborn
baby with a responsible person, in accordance with G.S. 7B-500. Article 5A of Chapter 7B of
the General Statutes. This information may be provided electronically or on the Division's Web
page."
            SECTION 6.2.(m) This section becomes effective October 1, 2023, and applies to
infants safely surrendered on or after that date.
            SECTION 6.3.(a) The Legislative Research Commission shall study streamlining
the laws surrounding adoption and foster care and report its findings and any legislative proposals
to the 2024 Regular Session of the 2023 General Assembly upon its convening.
            SECTION 6.3.(b) This section is effective when it becomes law.
            SECTION 6.4.(a) G.S. 14-322.3 reads as rewritten:
"§ 14-322.3. Abandonment of an infant under seven not more than 30 days of age.
    When a parent abandons an infant less not more than seven 30 days of age by voluntarily
delivering the infant as provided in G.S. 7B-500(b) or G.S. 7B-500(d) Article 5A of Chapter 7B
of the General Statutes and does not express an intent to return for the infant, that parent shall
not be prosecuted under G.S. 14-322, 14-322.1, or 14-43.14."
            SECTION 6.4.(b) This section becomes effective December 1, 2023, and applies to
offenses committed on or after that date.
            SECTION 6.5.(a) G.S. 48-3-203 reads as rewritten:
"§ 48-3-203. Agency placement adoption.
    …
    (a1) No agency shall deny or delay (i) the opportunity to become an adoptive parent or (ii)
the placement of a child for adoption on the basis of race, color, or national origin of the person
or the child involved.
    …."
            SECTION 6.5.(b) G.S. 131D-10.1 is amended by adding a new subsection to read:
    "(a1) No agency or other State entity shall deny or delay (i) the opportunity to become a
foster parent or (ii) the placement of a child in foster care on the basis of race, color, or national
origin of the person or the child involved."
            SECTION 6.5.(c) This section is effective when it becomes law.
            SECTION 6.6.(a) Effective six months after this bill becomes law, and
notwithstanding any other provision of law or rule to the contrary, the Department of Health and
Human Services, Division of Social Services (Division), shall develop and implement a policy
that allows an individual who is related by blood, marriage, or adoption to a child and providing
foster care, as defined under G.S. 131D-10.2(9), to a child in a family foster home to be

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reimbursed for the provision of care without having to meet the requirements for licensure under
G.S. 131D-10.3 pursuant to rates set forth in subsection (b) of this section. For purposes of this
section, "family foster home" means the private residence of one or more individuals who
permanently reside as members of the household and who provide continuing full-time foster
care for a child or children who are related to the adult members of the household by blood,
marriage, or adoption.
             SECTION 6.6.(b) The maximum rates for State participation in reimbursement for
unlicensed kinship foster care are established on a graduated scale as follows:
             (1)    $351.00 per child per month for children from birth through 5 years of age.
             (2)    $371.00 per child per month for children 6 through 12 years of age.
             (3)    $405.00 per child per month for children at least 13 but less than 18 years of
                    age.
             SECTION 6.6.(c) The State and a county participating in unlicensed kinship care
shall each contribute fifty percent (50%) of the nonfederal share of the cost of care for a child
placed by a county department of social services or child-placing agency in a family foster home.
             SECTION 6.6.(d) There is appropriated from the General Fund to the Department
of Health and Human Services, Division of Social Services, the sum of five million seven
hundred sixty-six thousand three hundred ninety dollars ($5,766,390) in recurring funds for each
year of the 2023-2025 fiscal biennium to provide funds for the State portion of unlicensed kinship
care reimbursement rates set forth in subsection (b) of this section.
             SECTION 6.7.(a) G.S. 108A-49.1 reads as rewritten:
"§ 108A-49.1. Foster care and adoption assistance payment rates.
    (a)      The maximum rates for State participation in the foster care assistance program are
established on a graduated scale as follows:
             (1)    $514.00 $702.00 per child per month for children from birth through five
                    years of age.
             (2)    $654.00 $742.00 per child per month for children six through 12 years of age.
             (3)    $698.00 $810.00 per child per month for children at least 13 but less than 21
                    years of age.
    (b)      The maximum rates for the State adoption assistance program are established
consistent with the foster care rates as follows:
             (1)    $514.00 $702.00 per child per month for children from birth through five
                    years of age.
             (2)    $654.00 $742.00 per child per month for children six through 12 years of age.
             (3)    $698.00 $810.00 per child per month for children at least 13 but less than 21
                    years of age.
    …."
             SECTION 6.7.(b) There is appropriated from the General Fund to the Department
of Health and Human Services, Division of Social Services, the sum of ten million ninety-four
thousand three hundred sixty-four dollars ($10,094,364) in recurring funds for each year of the
2023-2025 fiscal biennium to implement the foster care and adoption assistance rate increases
set forth in subsection (a) of this section.
             SECTION 6.8. There is appropriated from the General Fund to the Department of
Health and Human Services, Division of Social Services, the sum of one million seven hundred
twenty-five thousand five hundred thirty-one dollars ($1,725,531) in recurring funds for each
year of the 2023-2025 fiscal biennium to provide the State portion of the total cost of care to
implement, with the associated county and federal shares, an increase to the administrative rate
for foster care and adoption assistance.
             SECTION 6.9. There is appropriated from the General Fund to the Department of
Health and Human Services, Division of Social Services, the sum of eleven million eight hundred
thousand dollars ($11,800,000) in nonrecurring funds for the 2023-2024 fiscal year to provide

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additional funding to cover a loss in federal receipts from the Family First Prevention Services
Act regarding congregate care for foster care.
            SECTION 6.10. There is appropriated from the General Fund the sum of one million
five hundred thousand dollars ($1,500,000) in recurring funds for each year of the 2023-2025
fiscal biennium to the North Carolina Community College System for allocation to the NC Finish
Line Grants Program.
            SECTION 6.11. Except as otherwise provided, this Part becomes effective July 1,
2023.

PART VII. EXPANDING ACCESS TO CHILD CARE
            SECTION 7.1.(a) From July 1, 2023, through September 30, 2023, the Department
of Health and Human Services, Division of Child Development and Early Education, shall
maintain the child care subsidy market rates at the seventy-fifth percentile as recommended by
the 2018 Child Care Market Rate Study for children in three-, four-, and five-star-rated child care
centers and homes.
            SECTION 7.1.(b) Beginning October 1, 2023, the Department of Health and Human
Services, Division of Child Development and Early Education, shall increase the child care
subsidy market rates to the seventy-fifth percentile as recommended by the 2021 Child Care
Market Rate Study for children in three-, four-, and five-star-rated child care centers and homes.
            SECTION 7.1.(c) There is appropriated from the General Fund to the Department
of Health and Human Services, Division of Child Development and Early Education, the sum of
thirty-two million dollars ($32,000,000) in recurring funds for the 2023-2024 fiscal year and the
sum of forty-three million dollars ($43,000,000) in recurring funds for the 2024-2025 fiscal year
to implement the market rate increases set forth in subsections (a) and (b) of this section.
            SECTION 7.1.(d) It is the intent of the General Assembly to use a portion of the
anticipated increase in funds to the Child Care and Development Fund Block Grant to supplement
funding for the child care market rate increases described in subsection (b) of this section.
            SECTION 7.2.(a) The Division of Child Development and Early Education shall
decouple private tuition payment rates from the subsidized child care market rates for licensed
child care centers and homes.
            SECTION 7.2.(b) Section 9C.4(c) of S.L. 2021-180 reads as rewritten:
    "SECTION 9C.4.(c) Payments for the purchase of child care services for low-income
children shall be in accordance with the following requirements:
            (1)     Religious sponsored child care facilities operating pursuant to G.S. 110-106
                    and licensed child care centers and homes that meet the minimum licensing
                    standards that are participating in the subsidized child care program shall be
                    paid the one-star county market rate or the rate they charge privately paying
                    parents, whichever is lower, parents unless prohibited by subsection (f) of this
                    section.
            (2)     Licensed child care centers and homes with two or more stars shall receive the
                    market rate for that rated license level for that age group or the rate they charge
                    privately paying parents, whichever is lower, unless prohibited by subsection
                    (g) of this section.
            …."
            SECTION 7.3. This Part becomes effective July 1, 2023.

PART VIII. EXPAND SATELLITE-BASED MONITORING FOR VIOLENT AND
REPEAT SEXUAL OFFENDERS, INCREASE PUNISHMENT FOR ASSAULT ON A
PREGNANT WOMAN, AND ESTABLISH THE CRIME OF MISDEMEANOR
DOMESTIC VIOLENCE
       SECTION 8.1.(a) G.S. 14-208.40A reads as rewritten:

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"§ 14-208.40A. Determination of satellite-based monitoring requirement by court.
    (a)     When an offender is convicted of a reportable conviction as defined by
G.S. 14-208.6(4), during the sentencing phase, the district attorney shall present to the court any
evidence that of the following:
            (i)(1) That the offender has been classified as a sexually violent predator pursuant
                     to G.S. 14-208.20, G.S. 14-208.20.
            (ii)(2) That the offender is a reoffender, reoffender.
            (iii)(3) That the conviction offense was an aggravated offense, offense.
            (iv)(4) That the conviction offense was a violation of G.S. 14-27.23 or G.S. 14-27.28,
                     or G.S. 14-27.28.
            (v)(5) That the offense involved the physical, mental, or sexual abuse of a minor.
    The district attorney shall have no discretion to withhold any evidence required to be
submitted to the court pursuant to this subsection. The offender shall be allowed to present to the
court any evidence that the district attorney's evidence is not correct.
    (b)     After receipt of the evidence from the parties, the court shall determine whether the
offender's conviction places the offender in one of the categories described in G.S. 14-208.40(a),
and if so, shall make a finding of fact of that determination, specifying whether each of the
following:
            (i)(1) Whether the offender has been classified as a sexually violent predator
                     pursuant to G.S. 14-208.20, G.S. 14-208.20.
            (ii)(2) Whether the offender is a reoffender, reoffender.
            (iii)(3) Whether the conviction offense was an aggravated offense, offense.
            (iv)(4) Whether the conviction offense was a violation of G.S. 14-27.23 or
                     G.S. 14-27.28, or G.S. 14-27.28.
            (v)(5) Whether the offense involved the physical, mental, or sexual abuse of a minor.
    (c)     If The court shall order that the Department of Adult Correction do a risk assessment
of the offender if the court finds any of the following:
            (1)      that the The offender has been classified as a sexually violent predator, is a
                     reoffender, predator.
            (2)      The offender has committed an aggravated offense, or offense.
            (3)      The offender was convicted of G.S. 14-27.23 or G.S. 14-27.28, the court shall
                     order that the Division of Adult Correction and Juvenile Justice do a risk
                     assessment of the offender.G.S. 14-27.28.
            (4)      The offender is a reoffender of a crime under G.S. 14-27.21, 14-27.22,
                     14-27.23, 14-27.24, 14-27.25(a), 14-27.26, 14-27.27, 14-27.28, 14-27.29,
                     14-27.30(a), 14-43.11, 14-43.13, 14-178(b)(1) and (b)(2), 14-190.16,
                     14-205.2(d), 14-205.3(b), 14-318.4(a1), or 14-318.4(a2).
    The Division of Adult Correction and Juvenile Justice Department shall have up to 60 days
to complete the risk assessment of the offender and report the results to the court. The Division
of Adult Correction and Juvenile Justice Department may use a risk assessment of the offender
done within six months of the date of the hearing.
    (c1) Upon receipt of a risk assessment from the Division Department of Adult Correction
and Juvenile Justice pursuant to subsection (c) of this section, the court shall determine whether,
based on the Division of Adult Correction and Juvenile Justice's Department's risk assessment
and all relevant evidence, the offender requires the highest possible level of supervision and
monitoring. If the court determines that the offender does require the highest possible level of
supervision and monitoring, the court shall order the offender to enroll in a satellite-based
monitoring program for a period of 10 years.the life of the offender.
    (d)     If The court shall order that the Department of Adult Correction do a risk assessment
of the offender if the court finds that the each of the following:


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           (1)       The offender committed an offense that involved the physical, mental, or
                     sexual abuse of a minor, that the minor.
            (2)      The offense under subdivision (1) of this subsection is not an aggravated
                     offense or a violation of G.S. 14-27.23 or G.S. 14-27.28 and the
                     G.S. 14-27.28.
            (3)      The offender is not a reoffender, the court shall order that the Department of
                     Adult Correction do a risk assessment of the offender. or is a reoffender of a
                     crime under G.S. 14-27.31, 14-27.32, 14-27.33, 14-178(b)(3), 14-190.6,
                     14-190.9(a1), 14-190.17, 14-190.17A, 14-202.1, 14-202.3, 14-202.4(a), or
                     14-205.2(c).
    The Department shall have up to 60 days to complete the risk assessment of the offender and
report the results to the court. The Division of Adult Correction and Juvenile Justice Department
may use a risk assessment of the offender done within six months of the date of the hearing.
    (e)     Upon receipt of a risk assessment from the Department of Adult Correction pursuant
to subsection (d) of this section, the court shall determine whether, based on the Department's
risk assessment and all relevant evidence, the offender requires the highest possible level of
supervision and monitoring. If the court determines that the offender does require the highest
possible level of supervision and monitoring, the court shall order the offender to enroll in a
satellite-based monitoring program for a period of time to be specified by the court, not to exceed
10 50 years."
            SECTION 8.1.(b) This section becomes law October 1, 2023, and applies to court
orders for enrollment in satellite-based monitoring programs issued on or after that date.
            SECTION 8.2.(a) G.S. 14-33(c) reads as rewritten:
    "(c) Unless the conduct is covered under some other provision of law providing greater
punishment, any person who commits any assault, assault and battery, or affray is guilty of a
Class A1 misdemeanor if, in the course of the assault, assault and battery, or affray, he or she:
            …
            (2a) Assaults a pregnant woman;
            …."
            SECTION 8.2.(b) This section becomes effective December 1, 2023, and applies to
offenses committed on or after that date.
            SECTION 8.3.(a) Article 8 of Chapter 14 of the General Statutes is amended by
adding a new section to read:
"§ 14-32.5. Misdemeanor crime of domestic violence.
    (a)     Offense and Punishment. – A person is guilty of a Class A1 misdemeanor if that
person uses or attempts to use physical force, or threatens the use of a deadly weapon, against
another person and the person who commits the offense is:
            (1)      A current or former spouse, parent, or guardian of the victim.
            (2)      A person with whom the victim shares a child in common.
            (3)      A person who is cohabitating with or has cohabitated with the victim as a
                     spouse, parent, or guardian.
            (4)      A person similarly situated to a spouse, parent, or guardian of the victim.
            (5)      A person who has a current or recent former dating relationship with the
                     victim.
    (b)     Definition. – For purposes of this section, the term "dating relationship" is as defined
in 18 U.S.C. § 921."
            SECTION 8.3.(b) G.S. 14-415.12(b)(8a) reads as rewritten:
            "(8a) Is or has been adjudicated guilty of or received a prayer for judgment
                     continued or suspended sentence for one or more crimes of violence
                     constituting a misdemeanor under G.S. 14-33(c)(1), G.S. 14-32.5,


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                 14-33(c)(1), 14-33(c)(2), 14-33(c)(3), 14-33(d), 14-277.3A, 14-318.2,
                 14-134.3, 50B-4.1, or former G.S. 14-277.3."
           SECTION 8.3.(c) This section becomes effective December 1, 2023, and applies to
offenses committed on or after that date.

PART IX. EXEMPTION FROM STATUTORY PROVISION CONCERNING ORDER
OF APPROPRIATION BILLS
        SECTION 9. The provisions of G.S. 143C-5-2 do not apply to this act.

PART X. APPLICABILITY
            SECTION 10. Nothing in this act shall be construed as creating or recognizing a
right to abortion, nor shall the act make lawful an abortion that is otherwise unlawful.

PART XI. REVISOR OF STATUTES
            SECTION 11. The Revisor of Statutes is authorized to alphabetize, number, and
renumber the definitions listed in G.S. 90-21.120 and G.S. 90-21.81, as amended by this act, to
ensure that all of the definitions are listed in alphabetical order and numbered accordingly.

PART XII. SEVERABILITY CLAUSE
            SECTION 12. If any provision of this act or its application is held invalid, the
invalidity does not affect other provisions or applications of this act that can be given effect
without the invalid provisions or application and, to this end, the provisions of this act are
severable.




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PART XIII. EFFECTIVE DATE
        SECTION 13. Except as otherwise provided, this act is effective when it becomes
law.
        In the General Assembly read three times and ratified this the 4th day of May, 2023.


                                         s/ Bill Rabon
                                            Presiding Officer of the Senate


                                         s/ Tim Moore
                                            Speaker of the House of Representatives


                                            VETO Roy Cooper
                                            Governor


          Became law notwithstanding the objections of the Governor at 8:39 p.m. this 16th day
of May, 2023.

                                         s/ Mr. James White
                                            House Principal Clerk




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